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                     EXHIBIT A
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Contact:       Dana Glaze
               The Rainmaker Group
               470.440.2041
               dglaze@letitrain.com


Rainmaker at a Glance
Corporate Headquarters:       4550 North Point Parkway
                              Suite 400
                              Alpharetta, GA 30022
                              678.578.5700

Regional Offices:             3763 Howard Hughes Parkway
                              Suite 340
                              Las Vegas, NV 89169
                              877.221.7474

                              The Working Capitol
                              1 Keong Saik Road
                              089109, Singapore
                              +65.6805.4022

                              The Fairmont Dubai
                              5th Floor, Suite 508
                              Sheikh Zayed Rd, PO BOX 73310
                              Dubai, United Arab Emirates
                              971.4.311.6866


Connect:                      Website: letitrain.com
                              Email: contact@letitrain.com

Overview:      The Rainmaker Group is the Hotel Revenue and Profit Optimization Cloud, partnering
               with hotels, resorts and casinos to help them outperform. Rainmaker’s integrated
               solutions maximize profit from every segment of the business, leveraging cutting-edge
               research to bring customers the most sophisticated systems and help them achieve the
               highest profitability from their assets. Rainmaker offers the most comprehensive
               revenue management platform and suite of products and services from one partner,
               including market and business intelligence, forecasting and pricing, group price
               optimization, revenue optimization training and services, and best practices consulting.
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       Rainmaker Accolades and Testimonials


Solutions:


              guestrev® provides decision-makers and stakeholders with the tools they need to
              forecast demand accurately at the finest level of granularity, detect unexpected events
              and demand patterns often missed by human analysis, and strategically align sales and
              marketing efforts to increase bookings and maximize revenue and profits. Built on
              Rainmaker’s total guest valuation methodology, guestrev® enables hoteliers to better
              understand demand and set rates that optimize guest room and non-room revenue
              across various guest segments, while considering the impact of total guest value.

              grouprev® is a stand-alone group pricing software solution delivers intelligent pricing,
              compliant with revenue management policy, optimized to capture the sale in seconds. It
              provides group sales and revenue management teams the tools to respond quickly to
              leads and RFPs with optimal prices that drive improved conversion rates (averaging
              11+%) and increased group revenues (averaging 8+%). With more than 70 percent of
              event and meeting RFP’s awards to first responders, grouprev® gives a property’s group
              sales team the information they need to be the first responder with pricing that
              maximizes the likelihood of submitting the winning bid.

              revintel® is the hospitality industry’s most comprehensive revenue business intelligence
              platform. By gathering, analyzing and aggregating data from a wide range of property
              systems, revintel® provides actionable, revenue-driving insights in real time and in a
              customizable format. The solution’s intuitive dashboards and custom reports help
              hoteliers measure performance against corporate goals; monitor and measure
              individual property, department and enterprise data; and instantly drill down to the
              “why” behind the numbers to make better decisions and drive revenue.

              revcaster® is a flexible, cost-effective tool that monitors rate parity, helps ensure that
              pricing strategies reflect dynamic market conditions, and brings increased opportunity
              to drive higher profits. With revcaster® from Rainmaker, hoteliers can access real-time
              data to shop competitor rates and analyze their parity across multiple OTAs, alert
              revenue managers of potential impact from weather conditions or local events, suggest
              revenue strategy pivots based on market and competitor shifts, and much
              more. Thousands of properties worldwide trust revcaster® to give them the data they
              need, when they need it, and in the format they prefer. revcaster® was voted Hotel
              Tech Report’s Top Market Intelligence Tool in 2018.




Recent Solution Enhancements:
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           Next generation
           of revcaster®:    The next generation of Rainmaker’s revcaster® rate shopping solution
                             brings hoteliers much needed insights on market, demand and property
                             dynamics. This easy-to-use tool allows hoteliers to overcome common
                             roadblocks to implementing a dynamic pricing strategy, such as
                             insufficient staff time, budget and resources. The newly enhanced
                             revcaster® solution provides the ability to centralize and simplify the
                             processing of all relevant data, ensuring that no information is
                             overlooked when making pricing decisions.


Expertise/Consultation:      Rainmaker includes tactical and strategic consultation as an integral part
                             of every system implementation. This service is provided by a team of
                             industry leaders with decades of experience in consulting, marketing,
                             change management, hospitality operations, and corporate revenue
                             management. The team assesses each organization's strengths and
                             opportunities; assists in educating relevant stakeholders; advises of
                             recommended business process shifts; shares industry best practices;
                             and provides a step-by-step plan to maximize the benefit of profit
                             optimization.

                             Consulting services can also be provided outside of a system
                             implementation in a variety of focus areas. These include, among
                             others, revenue management readiness, customer valuation, pricing
                             strategies, mix of business, and fine-tuning a new or existing revenue
                             management program.

Implementation:              The Software as a Service deployment model enables clients to quickly
                             implement Rainmaker’s revenue management solutions, keeping
                             resource costs low while minimizing risk.

                             Rainmaker is a Microsoft Silver Certified partner, demonstrating its
                             consistent capability and expertise with Microsoft technologies, and
                             works closely with the Microsoft gaming and hospitality team.

Strategic Partnership:

Clients:                     Among the top brands that rely on Rainmaker solutions are Caesars
                             Entertainment, Cosmopolitan Las Vegas, Mohegan Sun, MGM Resorts
                             International, Benchmark Hospitality, Omni Hotels & Resorts, Wynn Las
                             Vegas, and Atlantis Paradise Island.

                             Recent Accolades:
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                               Rainmaker president, Tammy Farley, will be inducted into the HFTP Hall
                               of Fame on June 19th, received Top Market Intelligence Tool and Top 10
                               Places to Work in in 2018 Hotel Tech Awards, and 2017 marked seven
                               consecutive years being ranked on INC 5000’s list of fasting growing
                               privately held companies in the US.



Executive Team:                Tammy Farley, Co-Founder
                               Bruce Barfield, Co-Founder
                               Mike Cowles, CEO
                               Ellis Connolly, SVP, Head of Sales
                               Matt Curry, SVP, Head of Product

                                                 ###




                                              BIOS:


                                       Tammy Farley
                             Co-founder, The Rainmaker Group




Tammy Farley co-founded The Rainmaker Group in 1998 and serves as its president. She spearheads all
sales, marketing and customer-related operations for the organization, which is the market leader in
profit optimization solutions serving hotel, casino hotel, resort, and multifamily housing operators.
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Farley is someone who always goes the extra mile for a customer or a cause, and in fact once walked 60
alongside a client to raise funds for breast cancer awareness. She brings that same drive and energy to
Rainmaker, and her expert stewardship, along with that of co-founder Bruce Barfield, has earned their
company a spot among the Inc. 5000 fastest growing private companies for five consecutive years.

Farley prides herself on delivering on Rainmaker’s promises to clients and on creating a great place to
work. She brings her passion for community involvement into the workplace, spurring her team on at
Habitat for Humanity build events, partnering with Make-a-Wish Georgia to make a four-year-old’s
Disney and Legoland wish come true, and inviting a former wish recipient to speak at Rainmaker’s
annual kick-off meeting.



A widely acknowledged expert in revenue management technologies in the travel industry, Farley is a
frequent and passionate speaker at industry and academic conferences. She is a highly respected
resource for innovative revenue management practices, particularly in the casino, hotel and resort
markets. Her expertise in that arena led to her recognition in 2012 as a Great Women of Gaming Proven
Leader.

Tammy serves on the board of directors for HSMAI and participates in the Gaming & Leisure CIO
Roundtable. She also is vice chair and incoming chair of the Georgia Make-A-Wish Foundation.

Farley graduated from the University of Michigan with a bachelor’s degree in political science. She lives
in Atlanta with her husband and, during college breaks, her daughter Grace. She loves to travel, and
when visiting Grace in New York City, the two bond over shopping expeditions that allow Farley to
explore the world of fashion through her daughter’s eyes. A work-out fiend, she particularly enjoys
putting pedal to the metal at Flywheel.
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                                         Bruce Barfield
                              Co-Founder, The Rainmaker Group




Bruce Barfield is the co-founder of The Rainmaker Group. Since founding the company in 1998, Barfield
has led all strategic and innovation initiatives focused solely on delivering the highest revenue returns
possible through the development and cultivation of a suite of products and consulting services
designed to streamline operational efficiencies, enhance revenue optimization process, improve lead
performance, and generate greater demand.

An internationally recognized expert in pricing and business intelligence optimization, Barfield leverages
more than 25 years of revenue management experience. Prior to launching The Rainmaker Group,
Barfield was the founder of the technology consulting firm BCA. He also worked extensively in the
programming division of Delta Air Lines during the airline industry’s multi-year adoption of revenue
management technologies.

Bruce graduated with a BA in Accounting from Georgia State University. An avid outdoor enthusiast who
enjoys golf, snowboarding, and backpacking, Barfield has hiked nearly all portions of the Appalachian
Trail. Bruce resides in Atlanta, Georgia, with his wife and two children.
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                                     Mike Cowles
                   Chief Executive Officer, The Rainmaker Group




A results-driven senior leader with proven expertise in driving performance for SaaS and cloud
computing providers, Mike Cowles has a strong track record in technology innovation, building high
performing teams, growing business lines, and managing organizations through strategic change.



Cowles began his successful career as a technology consultant with Andersen Consulting
(Accenture). Prior to joining Rainmaker, he served as senior vice president and general manager of
U.S. financial services for SAP, where he directed an expansive team to provide enterprise
application software to financial institutions. Previously, he spent 14 years in various leadership
roles with Ariba, most recently as senior vice president and general manager of North America.
While there, he was a member of a management committee that was responsible for growing
Ariba’s market cap by over 500% in the years leading up to acquisition by SAP. As a proven
industry leader, he has advised private equity and venture capital firms in the software space,
helping them to validate potential investments and improve company performance.

Based at Rainmaker’s corporate office in Alpharetta, Georgia, Cowles holds both a BS and MS in
Mechanical Engineering from the University of Florida.
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                                     Ellis Connolly
          Senior Vice President, Head of Sales, The Rainmaker Group




Ellis Connolly brings extensive hotel industry knowledge to The Rainmaker Group as its Vice
President of Hospitality Sales. With more than 15 years of experience in corporate hospitality,
Connolly is responsible for leading Rainmaker’s growing sales organization and making the
company’s industry leading suite of revenue management and profit optimization solutions
accessible to the global hospitality market. Connolly’s broad range of experience includes executive
sales and business development roles with both start-ups and large enterprise organizations within
the global hotel and travel sector. He also possesses extensive experience in building market
penetration for hotel analytics products.

Prior to his role with The Rainmaker Group, Connolly served as the Chief Revenue Officer at
TrustYou, a global travel technology company that leads the market in online reputation
management and review monitoring. Originally joining the company as Vice President of Sales for
the Americas and Australia, he led TrustYou’s global sales initiatives and was responsible for
developing the go-to-market strategy.

Connolly also previously served as senior sales director for Cvent, where he led the meetings and
groups sales team. During his time at Cvent, he proved himself to be a forward-thinking sales
leader, instilling a keen understanding within his team of the relationship between sales and
marketing. Prior to this, Connolly was the director of sales and marketing for Aramark, a global
provider of food services, facilities and uniforms to the travel industry.



Connolly is a frequent speaker on industry related topics and business intelligence products around
the globe. Based in San Diego, CA, he holds a degree from Hyde Park, NY’s Culinary Institute of
America.
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                                        Matt Curry
        Senior Vice President, Head of Product, The Rainmaker Group




Matt Curry joined Rainmaker in November of 2016 as head of sales for the company's multifamily
division. Upon the announcement of those assets being acquired in early 2017 he began
transitioning away from multifamily and over to the hospitality team. Today, as VP, Head of
Product, Matt is responsible for Rainmaker's overall product strategy, development, product
management and marketing, integrations and customer support.



Prior to joining Rainmaker, Matt was responsible for sales and commercial operations at SignUp4, a
startup technology company in the corporate events and travel space based in Atlanta. There he
helped fuel growth while scaling the business until ultimately being acquired by Cvent, the world's
leading events technology platform and marketplace for hospitality and group business. At Cvent
Matt oversaw all acquisition and transition operations of which directly impacted SignUp4's nearly
800 customers ranging from Fortune 1000 corporations, non-profits and associations, government
agencies and more.



Matt, originally from Kentucky, resides near Rainmaker's headquarters in Alpharetta, GA along with
his wife Kristin and two children, Brayden and Harper. He holds a BS in Finance from Western
Kentucky University.
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                                         Dan Skodol
             Vice President of Revenue Analytics, The Rainmaker Group




Dan Skodol is Vice President of Revenue Analytics at Rainmaker. Dan came to Rainmaker with over ten
years of revenue management experience in gaming, hotels, multifamily real estate and airlines. He is
responsible for researching and designing enhancements and innovations within Rainmaker’s hospitality
product suite.

Dan previously held Director of Revenue Management roles for two casino organizations in Atlantic City
and Archstone Communities. He holds a BA from Yale University and a Master of Management in
Hospitality from Cornell. Dan and his wife reside in Denver, CO with their two-year-old son and enjoy
skiing, hiking and travel.




                                       Angie Dobney
            Vice President, Casino & Gaming Sales, The Rainmaker Group
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Angie Dobney serves as vice president of casino & gaming sales for The Rainmaker Group. An industry
veteran with more than two decades of experience in revenue management and hospitality operations,
she provides hands-on optimization of total resort profit to Rainmaker’s industry-leading gaming and
hospitality clients.

As a former Rainmaker customer who turned the tables and joined the market leader in 2014, Dobney
brings to her role a user’s perspective on the product. Having worked in both manual and automated
environments, she knows firsthand the challenges customers face and draws from her personal
experience to guide her clients in best practices.

A recognized expert in total asset and portfolio optimization, and as enthusiastic as she is
knowledgeable, Dobney is frequently tapped to speak at conferences around the globe. She is a guest
lecturer on hotel and hospitality asset and revenue management at the University of Nevada, Las Vegas,
her alma mater, where she was named Mentor of the Year in 2007. She continues to seek out
opportunities to get involved in other university programs in her quest to inspire and motivate the next
generation of revenue managers.
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                  R AINMAKE R AWARDS & ACCOLADES
                                                       Company & Personnel




The Rainmaker Group ranked for   The Rainmaker Group took              Tammy Farley is being inducted           Rainmaker’s revcaster was voted
a seventh consecutive year on    home the silver medal for Best        in the HFTP International                HotelTechAwards Top Market
the 2017 Inc. 5000 list of the   Productivity - Enhancement            Hospitality Technology Hall of           Intelligence Tool in 2018. The
fastest growing privately held   Technology for grouprev® in the       Fame at the 2018 HITEC                   Rainmaker Group also received
companies in the U.S.            17th annual Global Gaming             Conference in Houston.                   one of the Top 10 Places to Work
                                 Business Gaming & Technology                                                   in Hotel Tech in the 2018
                                 Awards.                                                                        HotelTechAwards




                                         CUSTOMER TESTIMONIALS

                                              “We have a multifaceted business that requires a keen and detailed understanding of every
                                              area at every level. This is of utmost importance in our revenue management practices, as it
                                              helps us to both forecast accurately and to turn the data that the system provides into
                                              actionable strategies. To get the granular level view of the integrated data we need, a
                                              seamless and solid integration between our PMS, our revenue management system and all
Geno Iafrate                                  other systems relevant to the process is a critical factor. This ability to integrate with existing
                                              disparate systems is something that Rainmaker does exceptionally well.”
President & General Manager




                                              “It is extremely valuable to us to have one comprehensive platform pulling data
                                              company-wide so that we can have a consistent, single source of truth for each property,
                                              which is why we have decided to expand our revintel® implementation across our growing
                                              portfolio. The platform helps us to understand so much regarding pace — both transient and
                                              group pace — alerting us to potential deficits throughout the year, and within specific

Kathleen Cullen                               segments.


Senior Vice President of                      Rainmaker really listened to our needs and responded with an ideal solution that does the
Revenue & Distribution                        heavy lifting for us and does it quickly, helping us to interpret data and make it actionable.
                                              This is really important to us in maintaining our forward momentum.”



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                                  “Best Western selected revcaster® as our rate-shopping provider five years ago, recognizing
                                  them at the time as a highly innovative startup with excellent customer service. Their unique,
                                  extensive revenue management experience in the mid-market segment has continued to
                                  help us improve performance for members ever since, and we continue to be excited about


Monte Gardiner
                                  their focus on innovation and customer service as part of the Rainmaker portfolio.”


Managing Director of
Revenue Management



                                  “We’ve been using Rainmaker solutions since 2008. With Rainmaker we have best in class
                                  transient yielding, group pricing and forecasting, and the top-in-class rate shopping
                                  functionality.”

                                  “revcaster’s new platform is a game changer for our organization and our industry. Since

Kristen Lair                      transitioning in to the next generation platform of revcaster, the biggest change we’ve seen is
                                  in the ability to customize. The functionality is quick, customizable and the UI is really
Corporate Director of             beautiful and smooth.”
Revenue Analytics &
Applications



                                “guestrev has really opened a lot of doors in personalizing guest experience at Big Sky Resort.
                                We are now able to quickly track the length of stay, the ADR, and where and who are these
                                guests that are coming to visit us.



                                “After implementing grouprev, the speed with which our sales team can respond to RFPs has
                                increased dramatically. They are now able to respond quickly and follow up even faster!”




  Katie Grice
 Revenue Mangaer




                                  “We researched several platforms, but found Rainmaker to be the top option for what we
                                  were looking to do. We needed an enterprise reporting platform that can aid us in identifying
                                  micro and macro trends, enabling maximization of revenues. Rainmaker’s solution offers us all
                                  of that and more.”



Darrell Stark
Vice President of
Revenue & Distribution




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                                              “Using the Rainmaker platform is so easy! The data and analytics it provides fit any revenue
                                              management need. I no longer dread monthly production reporting and account reviews are
                                              now a breeze. Their support team welcomes new ideas and are always quick to respond.”




Adrienne Cousins
Director of Revenue




                                              “Our GMs love using revcaster® to help set rates and maximize revenues. The support from the
                                              Rainmaker team is always quick and efficient, and they have really helped our team to


Nicolas Ishkanian
                                              understand the solution and use it to its full potential. We recently completed some updated
                                              training for our GMs on the platform and they are excited for the new features that the next
                                              generation of revcaster® will bring them. We really look forward to seeing how these new
Vice President Revenue &
                                              functionalities will continue to improve our pricing and revenue management strategies.”
Distribution




                                              “Rainmaker’s total guest valuation methodology has brought about a true transformation in
                                              how we allocate our inventory, helping us yield improvements across our entire enterprise.
                                              Rainmaker, is more than just a product, though. What really set them apart for us is the
                                              high-level support and service we consistently receive from their team. Having a local
                                              Rainmaker support team here in Singapore has been so crucial for us in getting timely
Paul G.V. Baker                               support on our needs and in understanding the culture of our team. They’ve worked with us
                                              to address our needs, even adding new features and developing new interfaces specifically to
Deputy Chief Operating Officer                help us advance our strategies. Rainmaker is a true partner who always works hand in hand
                                              with us to achieve Resort World’s goals.”




                                              “Although we were not unhappy with our current revenue management system, Rainmaker’s
                                              understanding of our desire to provide total guest value at our properties led to our decision
                                              to move. Rainmaker’s gaming history along with their ability to support a total revenue
                                              management strategy gave us the reassurance that we were making the right move.”




 Colin McClean
 Director of Sales - SKYCITY Hotels & Tower




                                               “Partnering with Rainmaker is an exciting move for us. We are grateful for the assistance and
                                               the level of commitment Rainmaker showed us in the Irma aftermath and look forward to the
                                               benefits of an automated best-in-class revenue management solution. With the support of
                                               Rainmaker’s products behind our pricing decisions, we are committed to coming back
                                               stronger, offering our guests the Limitless All-inclusive vacation experience at the best

 Eliska Hesova                                 possible price and being part of the tourism recovery in St. Maarten.”


 Director of Revenue &
 Business Development


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FOR IMMEDIATE RELEAS E




        The Rainmake r Gro up Partners with To raric a Gro up o f Ho tel s
    Company to Implemen t Rainmaker’s Industry-Leading Reve nue O ptimization S olutions at
                                   All Three Properties

ALPHARETTA, GA. — Ju ne 14 , 201 8 —The Rainmaker Group (Rainmaker), a lea ding provide r of
cloud-bas ed hos pitality re ven ue and profit optimization s oftware, today announced that the Torarica
Group has s e lec ted Rainmaker’s gues trev ®, re vintel® and re vcas ter® s olutions to drive re ve nue at all
three o f their S uriname properties : Torarica Hote l & Cas ino, Eco Res ort, and Royal Torarica Hotel.

The company was looking for a s et of tools to he lp the m formalize their re ve nue manag em en t proc es s es
and be come more s ophis ticate d in how they manag e and forec as t the ir bus ine s s . The choice in
Rainmaker will not only aid in this but als o reduce the a mount of manual proces s e s for the company.

“Before Ra inmaker, ev erything was very manual,” ex plained Myrna Kaliar, Account Manag er, Travel
Age nts and Tour Ope rators at Torarica Group of Hotels . “In the time we are s aving us ing Ra inmaker
s olutions , we a re able to foc us on making more s ophis ticate d reven ue manag em en t dec is ions .”

“We a re v ery ex cited to work with the Torarica Group,” s aid Mike Co wles , Rainmaker’s CEO.
“Rainmaker’s s olutions will be a great aid in giving the m time b ac k in the ir da ys to foc us on s trate gy. We
loo k forward to working with this ea ger partne r as we ex pand our foo tprint in the Caribbe an.

The s elec ted products from Rainmaker’s groundbre aking re ven ue and profit optimization s uite include :

    •    guestrev®, a n intuitive a nd ea s y-to-us e rev en ue manage men t solution that analyzes total gue s t
         value ac ros s a hotel or cas ino prope rty to forec as t and price room s ;

    •    revintel®, an intuitive b us ine s s intelligen ce s olution that improves day-to-day re ven ue
         manag em en t by mining various data s e ts and providing de ep ins ights at a g ranular le ve l; and

    •    revcaster®, a powerful rate s hopping tool that gives hote liers ac ces s to rea l-time a ctionable
         market data, s o that rates c an be s et aga ins t the c ompe titive lands cape .

Abou t the Torarica Group : The warm welcome o f S uriname takes a ne w mea ning at the Torarica
Group. With over 55 yea rs ’ ex pe rie nce in accommodating gue s ts and cate ring to the ir e very nee d, the
Torarica Group is the m os t famous and renowne d hote l group in S uriname o ffering the idea l loc ation for
bus ines s , relaxing ge taways and family holidays .




CONFIDENTIAL
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Abou t Rainmaker
Rainmaker is the hotel re ven ue manag em en t and profit optimization cloud. The company partne rs with
hotels , res orts, and cas inos to he lp them outperform their rev en ue and profit objec tives . Rainmaker’s cloud-
bas ed s olutions for trans ien t and group pricing optimization, dem and forec as ting, bus ine s s intelligen ce and
market analys is are de s igned to he lp hoteliers s trea mline operations and rev en ue optimization proces s es ,
improve lea d pe rformance and drive gues t bookings . Rec og nized as one of the top privately held
companies in the United S tates , Rainmaker has be en named to Inc. 50 00 ’s ‘Fas tes t Growing Private ly Held
Companies ’ for the las t s e ven ye ars and to the Atlanta Bus ines s Chronicle ’s lis t of ‘10 0 Fas tes t Growing
Companies in Atlanta.’ Rainmaker s erves hos pitality cus tomers throughout the world from its corporate
he adquarters in Alpharetta, Ga. and from offices in Las Veg as , S ingapore , and Dubai. To le arn more about
Rainmaker and its s uite of hotel re ven ue manag em en t and profit optimization s olutions ,
vis it www.LetItRain.com.
                                                       # # #

Med ia Con tac t:
Dana Glaze, The Rainmaker Group, 470-440 -2041 , dglaze@ letitrain.co m




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For draft purposes only – updated 05.25.2018

Press Release

Concilio Labs and The Rainmaker Group Announce New Technology Partnership

Washington, DC (June ?, 2018) – Concilio Labs and The Rainmaker Group today announced a new
technology partnership to deliver more actionable and meaningful guest insights to hoteliers.

The Rainmaker Group (Rainmaker), a leading provider of cloud-based hospitality revenue and profit
optimization software, will leverage the power of Concilio’s proprietary Insights Engine technology to
empower hoteliers to understand who their guests are on a deeper level, anticipate needs, predict
outcomes and personalize interactions. The alliance and integration partnership will deliver benefits
that are squarely focused on making it easier for hotels to harness the power of guest intelligence to
make data-driven decisions, while also helping them realize their growth, loyalty and revenue
objectives.

“We are very excited to partner with Concilio Labs to add the Insights Engine to our solutions.” said
Mike Cowles, CEO of Rainmaker . “Rainmaker is revolutionizing the hotel profit optimization landscape
beyond the traditional revenue management boundaries to help our clients make better decisions
with data and drive measurable results.”

Concilio’s Insight Engine provides guest scoring, dynamic guest profiles, reservation information, and
automated actionable insights via machine learning and complex data analysis. With the creation of
comprehensive guest profiles, hotels are always just a touch away from critical guest insight such as
travel purpose, social influence, loyalty and long-term value. A proprietary guest score makes it easy
to compare one guest or guest persona to another. Equipped with this information, hoteliers know
what to offer each guest, at the right time, through the right channel, not only ensuring guest
satisfaction, but also tracking continued behavior and response to better understand the ROI on
marketing campaigns and promotional offers. Additionally, hoteliers can explore and combine data to
understand key market drivers and uncover trends.

“We’re thrilled to have the chance to work in partnership with Rainmaker on the delivery of key guest
insights data and to enhance hotel-guest relationships,” said Terri Miller, CEO of Concilio Labs. “The
combination of Rainmaker’s award-winning revenue management tools and resources and our
advanced business intelligence capabilities make for a very powerful market offering. We look forward
to doing great things together.”

Rainmaker and Concilio Labs will be at at this year’s HITEC in Houston. Attendees are invited to visit
Booth 1104 to learn more and view a live demo. For more information visit www.letitrain.com and
conciliolabls.com.

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About Rainmaker

Rainmaker is the hotel revenue management and profit optimization cloud. The company partners
with hotels, resorts, and casinos to help them outperform their revenue and profit objectives.
Rainmaker’s cloud-based solutions for transient and group pricing optimization, demand forecasting,
business intelligence and market analysis are designed to help hoteliers streamline operations and
revenue optimization processes, improve lead performance and drive guest bookings. Recognized as
one of the top privately held companies in the United States, Rainmaker has been named to Inc.
5000’s ‘Fastest Growing Privately Held Companies’ for the last seven years and to the Atlanta Business
Chronicle’s list of ‘100 Fastest Growing Companies in Atlanta.’ Rainmaker serves hospitality customers
throughout the world from its corporate headquarters in Alpharetta, Ga. and from offices in Las Vegas,
Singapore, and Dubai. To learn more about Rainmaker and its suite of hotel revenue management and
profit optimization solutions, visit www.LetItRain.com.

About Concilio Labs

Concilio Labs is on a mission to solve key issues in hospitality today—those of guest personalization and hotel
loyalty—by developing innovative technology solutions that push boundaries. Concilio’s Insight Engine, a guest
intelligence platform, empowers hoteliers with actionable insights to create personalized guest experiences
that go far beyond traditional and existing capabilities in other similar tools. Other core service offerings target
guest experience, including tailored mobile app and integrated booking engine solutions for hoteliers looking to
take their guest engagement to the next level. The management team has decades of proven experience
working with technology leaders, including MICROS, giving them the credibility and a deep understanding of the
hospitality industry and its growing needs. Concilio Labs is a rapidly growing brand with offices in the
Washington, DC area and Ukraine. To learn more, visit conciliolabs.com.

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FOR IMMEDIATE RELEASE




         Golden Entertainment Selects Comprehensive Rainmaker Suite
              to Drive Guest Bookings and Increase Profitability
Company to Implement Rainmaker’s Industry-Leading Revenue Optimization Solutions at Two Properties

ALPHARETTA, GA. — May 22, 2018 —The Rainmaker Group (Rainmaker), a leading provider of
cloud-based hospitality revenue and profit optimization software, today announced that Golden
Entertainment Inc. (NASDAQ: GDEN) has selected a comprehensive Rainmaker suite to drive
competitive advantage at two of the company’s Nevada properties. The agreement marks Rainmaker’s
expansion in the U.S. gaming market.

Golden Entertainment wanted an integrated cloud-based revenue management suite that would streamline
operations, drive guest bookings and increase profitability at the iconic Stratosphere Casino, Hotel &
Tower in Las Vegas and Aquarius Casino Resort in Laughlin, the company’s two largest resorts. After a
lengthy review process, the company selected the Rainmaker solutions, citing the company’s reputation in
the gaming sector.

“We announced a capital investment plan at the Stratosphere which includes room renovations, refreshing
the property’s exterior, and adding exciting new venues to attract and engage patrons while enhancing the
overall guest experience,” said Steve Arcana, executive vice president and chief operating officer of
Golden Entertainment. “Rainmaker’s outstanding track record with large-scale casino properties and the
company’s reputation in the gaming market influenced our decision to select its revenue management and
profit optimization software solutions.”

Tammy Farley, president of The Rainmaker Group, said, “Hotels, casinos and other hospitality venues
that want to achieve a competitive advantage must employ state-of-the-art revenue management
technology. Our portfolio of profit optimization and analytics solutions will help Aquarius Casino Resort
and Stratosphere Casino, Hotel & Tower distill the most complex data from numerous sources and turn it
into actionable insights, resulting in increased profitability. We are thrilled to welcome Golden
Entertainment to the Rainmaker family and to expand our footprint in the U.S. gaming market.”


About Rainmaker
Rainmaker is the hotel revenue and profit optimization cloud. The company partners with hotels, resorts
and casinos to help them outperform their revenue and profit objectives. Rainmaker’s cloud-based
solutions for transient and group pricing optimization, forecasting, and revenue-centric business
intelligence are designed to help hoteliers streamline operations, enhance revenue optimization processes,
improve lead performance, and drive guest bookings. Recognized as one of the top privately held
companies in the United States, Rainmaker has been named to Inc. 5000’s ‘Fastest Growing Privately
Held Companies’ for the last seven years and to the Atlanta Business Chronicle’s list of ‘100 Fastest
Growing Companies in Atlanta’. Rainmaker serves hospitality customers throughout the world from its


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corporate headquarters in Alpharetta, Ga. and from offices in Las Vegas, Singapore and Dubai. To learn
more about Rainmaker and its suite of hotel revenue and profit optimization solutions, visit
www.LetItRain.com.

About Golden Entertainment, Inc.
Golden Entertainment, Inc. owns and operates gaming properties across two divisions – resort casino
operations and distributed gaming. The Company operates approximately 16,000 gaming devices, 116
table games, 5,168 hotel rooms, and provides jobs for over 7,000 team members. Golden Entertainment
owns eight resort casinos – seven in Southern Nevada and one in Maryland. Through its distributed
gaming business in Nevada and Montana, Golden Entertainment operates slot machines at over 1,000
locations and owns nearly 60 traditional taverns in Nevada. The Company is licensed in Illinois to operate
video gaming terminals. Golden Entertainment is focused on maximizing the value of its portfolio by
leveraging its scale, leadership position and proven management capabilities across its two divisions. For
more information, visit www.goldenent.com.


                                                 # # #

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Brad Goldberg, for Golden Entertainment, 702-495-4489, bgoldberg@goldenent.com




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FOR IMMEDIATE RELEAS E




 The Rainmake r Gro up Co ntinues to Make a Mark in the APAC Reg io n
         as it Pa rtne rs with SKYCITY Entertainmen t Gro up
    Company to Implemen t Rainmaker’s Industry-Leading Reve nue O ptimization S olutions at
                              Two Properties in Ne w Zealand

ALPHARETTA, GA. — May 23 , 201 8 —The Rainmaker Group (Rainmaker), a le ading provider of
cloud-bas ed hos pitality re ven ue and profit optimization s oftware, today announced that S KYCITY
Entertainmen t Group has s elec ted Rainmaker’s gues trev ® and re vintel® to drive rev e nue at two
S KYCITY loc ations . The ag ree men t marks Rainmaker’s e xpans ion in the Aus tralian & Ne w Zealand
markets .

S KYCITY Entertainmen t Group (NAS DAQ: S KYTY), owns s ix cas inos ac ros s five loc ations in Aus tralia
and Ne w Zealand. The company s ought a reve nue manag em en t sys tem (RMS) that could he lp the m
rev ea l total gue s t value ac ros s their property and are firs t foc us ing thes e efforts at S KYCITY Hotel and
S KYCITY Grand, both loc ated in Auckland, Ne w Zealand. After weighing the ir options be twee n their
curren t RMS ven dor and Rainmaker, the y s elec ted Rainmaker s olutions , c iting the c ompany’s his tory and
unde rs tanding of the g aming s ec tor.

“Although we were not unhappy with our curren t reve nue manag em en t sys tem, Rainmaker’s
unde rs tanding of our de s ire to provide total gue s t value at our properties led to our de cis ion to m ove,”
s aid Colin McCle an, direc tor of S ales at S KYCITY Hotels & Tower. “Rainmaker’s ga ming his tory along
with their ability to s upport a total re ve nue manag em ent s trate gy ga ve u s the re as s urance that we were
making the right move. We’re e xcited to implem en t gues trev and re vintel and look forward to ben efiting
from the increa s ed re ve nue the y will bring.”

This partners hip comes at a great time a s Rainmaker announces their plan to s et up an Aus tralian Data -
Center to s upport the ir cus tomers and e xpans ion in to the reg ion.

S KYCITY Entertainmen t has s elec ted the following reven ue manag em en t and profit optimization s oftware
s olutions from Rainmaker:

    •    guestrev®, a n intuitive a nd ea s y-to-us e rev en ue manage men t solution that analyzes total gue s t
         value ac ros s a hotel or cas ino prope rty to forec as t and price room s ;

    •    revintel®, an intuitive b us ine s s intelligen ce s olution that improves day-to-day re ven ue
         manag em en t by mining various data s e ts and providing de ep ins ights at a g ranular le ve l.

“The As ia-Pac ific reg ion is rea lly looking for someo ne to make a s tand in the gaming market and provide
a total re ve nue manag em ent s olution,” s aid Patrick Andres , Rainmaker’s s en ior vice -pres ide nt As ia-
Pac ific, Middle -Eas t and Africa. “Our portfolio o f profit optimization and analytics s olutions will do jus t that
and we a re thrilled to a dd S KYCITY Entertainmen t Group to the Rainmaker family. Our next steps in
adding a s upport cen ter in Aus tralia will be of e ve n more b en efit to S KYCITY and the res t Aus tralian
hos pitality market.”




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Abou t S KYCITY Enter tainmen t: S KYCITY Entertainmen t Group is Ne w Zea land’s larges t touris m,
leis ure a nd e ntertainmen t company, lis ted in both Ne w Zealand and Aus tralia.
As one of only three publicly lis ted cas ino operators in Aus tralas ia, S KYCITY operate s integrated
en tertainmen t complex es in Ne w Zealand (Auckland, Hamilton and Quee ns town) and Aus tralia (Ade laide
and Darwin). In addition to the contem porary cas ino ga ming fac ilities , S KYCITY offers world-clas s
res taurants, bars , conferen ce fac ilities , a nd Auckland’s iconic S KY Tower, that appe al to both domes tic
and international vis itors. S KYCITY operates award winning hote ls in Auckland and Darwin, including
S KYCITY Hotel, S KYCITY Grand Hotel and S KYCITY Darwin Hotel & Res ort. Two a dditional hotels are
unde r cons truction in Auckland and Adelaide. For more ins ight, vis it www.s kycitye ntertainmen tgroup.com.



Abou t Rainmaker
Rainmaker is the hotel re ven ue manag em en t and profit optimization cloud. The company partne rs with
hotels , res orts, and cas inos to he lp them outperform their rev en ue and profit objec tives . Rainmaker’s cloud-
bas ed s olutions for trans ien t and group pricing optimization, dem and forec as ting, bus ine s s intelligen ce and
market analys is are de s igned to he lp hoteliers s trea mline operations and rev en ue optimization proces s es ,
improve lea d pe rformance and drive gues t bookings . Rec og nized as one of the top privately held
companies in the United S tate s , Rainmaker has be en named to Inc. 50 00 ’s ‘Fas tes t Growing Private ly Held
Companies ’ for the las t s e ven ye ars and to the Atlanta Bus ines s Chronicle ’s lis t of ‘10 0 Fas tes t Growing
Companies in Atlanta.’ Rainmaker s erves hos pitality cus tomers throughout the world from its corporate
he adquarters in Alpharetta, Ga. and from offices in Las Veg as , S ingapore , and Dubai. To le arn more about
Rainmaker and its s uite of hotel re ven ue manag em en t and profit optimization s olutions ,
vis it www.LetItRain.com.
                                                       # # #

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                      5 Things
                   ThatLOGO
                        You Must
                  Evaluate Before
                    You Invest In
                     Your Next

                          RMS
     Nuncus necedolo eros nisl
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                                            SCIENCE vs RULES
                                            The Future of Revenue Management

                                            An effective revenue management system (RMS) performs complex
                                            calculations in a matter of milliseconds to present the best, actionable
                                            data on both a macro and micro level. Hoteliers can then use that
                                            information to improve customer experience, create enhanced levels of
                                            personalization and generate greater ancillary revenue in the process.
                                            But when it comes to these systems, there are some major differeniating
                                            factors.

                                            Historically, rules-based systems have ‘ruled’. However, in such a
                                            dynamic industry where occupancy and RevPAR are the lifeline of any
                                            hotel, science-based systems make for better decisions in the long run
                                            as rules-based systems lack the capability to achieve true optimization. A
                                            rules-based methodology enables decision-makers to quickly and easily
                                            understand why the price recommendation is being made, but lacks
                                            sophistication and accuracy.

                                            Next generation science-driven RM relies on machine learning and
                                            complex algorithms to determine accurate pricing based on criteria such
                                            as demand, market conditions, competitive landscape, guest behavior,
                                            and demographics.
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                                            TOTAL GUEST VALUE
                                            Guest valuation in algorithms
                                            How can you predict the value of a guest over the course of his or her
                                            interactions with your hotel brand?

                                            A guest’s value is determined using the relationship between spending
                                            patterns and profit. Factors to consider include room rates, purchases,
                                            upgrades, number of stays, length of stays and visit frequency. Only a tue
                                            algorithmic system can get to the data and analyze it in relation to the total
                                            value of a guest across the entire hotel property to forecast and price rooms
                                            as well as drive add-on sales.

                                            Hoteliers with a clear understanding of their guests and competitive
                                            differentiators can enhance their guests’ experience while simultaneously
                                            generating significant streams of ancillary revenue. By mining various data
                                            sets at a granular level, which include both guest stay and guest spending
                                            history anywhere on property as part of the pricing analysis, your hotel can
                                            offer the best rates and ancillary products to your most valuable guests.

                                            Guests can generate revenue for a hotel in many different ways. Revenue
                                            management powered by guest valuation algorithms enables hotels to
                                            increase guest wallet share, keeping guest spending on-property instead of
                                            losing it to local attractions, restaurants, spas or competitors.
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                                            PMS INTEGRATION
                                            How complete is the PMS integration?
                                            A property management system (PMS) serves as the heart and soul
                                            of your hotel. As such, the PMS needs to connect to primary systems
                                            that are imperative to run hotel operations at the highest level. Revenue
                                            management is considered one of the most important integrations because
                                            good pricing algorithms will help a hotel be more profitable.

                                            At its essence, revenue management is about setting the right price for
                                            the right guest at the right time - and when it comes to optimizing your
                                            RMS, tight integration with a hotel’s property management system ensures
                                            that data collection is fast and efficient. As PMS’ become repositories for
                                            data for the entirety of a guest’s lifecycle, the ability for these key systems
                                            to communicate in real-time, as well as automate and streamline daily
                                            transactions is critical.

                                            By leveraging the RMS platform to pull data company-wide from the PMS,
                                            hotels can get a single source view of performance and opportunities at
                                            a property level. With real-time 2-way integration, the process of updating
                                            dynamic pricing from the RMS to the PMS is automated, so the two systems
                                            can work in tandem to capitalize on total guest revenue.
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                                            SERVICE & SUPPORT
                                            Focus on your business
                                            In the always-on hospitality industry, there is no time for technology
                                            disruptions. And there is definitely no one-sized-fits-all, cookie-cutter
                                            solution when it comes to an effective revenue management strategy.

                                            You need a reliable, responsive and experienced partner that can give you
                                            the power to concentrate on the profitability of your business rather than
                                            how to implement, maintain or upgrade RMS technology.

                                            It all starts with understanding your hotel’s unique needs and goals,
                                            including interviews with every team member who would be using the
                                            solution. Once your system is live, schedule weekly calls to keep the system
                                            optimized for your operations. And anytime your staff calls the solution
                                            provider, they immediately talk to a real person with a wealth of experience
                                            and a deep understanding of your specific technology set-up.

                                            You should also look for a cloud-based RM software suite that can offer
                                            predictable IT costs and an accelerated return on investment.
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                                            CULTURE
                                            Revenue culture property-wide
                                            Every profitable hotel has at one thing in common: a revenue-centric
                                            culture.

                                            Research from Harvard Business Review indicates that “high-performing
                                            sales cultures are characterized by an ability to align (gain clarity on vision,
                                            strategy, and shared employee behaviors), execute (move in the agreed
                                            upon direction with minimal friction), and renew (continuously improve at
                                            a pace that exceeds competitors).” Collectively, these factors encompass
                                            ‘organizational culture’.

                                            This means that not only does the revenue management team need to
                                            understand the impact of RM, but so does your marketing, sales, events,
                                            and so on. For example, if your marketing team pushes ahead with a
                                            special weekend rate as a promotio, but your revenue managers and
                                            sales staff know there is a citywide convention, then having RM in place is
                                            useless.

                                            Once system integration has been optimized, it’s critical for hotel teams
                                            to be aligned on the long-term strategic plan as well as short-term tactical
                                            campaigns. Empower your team with the right tools and RMS to help them
                                            do their job efficiently and effectively.
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                                            MAKING THE DECISION
                                            The right RMS investment always pays off
                                            Revenue management systems are at the center of a hotel’s profit
                                            optimization process which depends so much on capturing, analyzing and
                                            using data to make decisions. With so many hotel companies investing in
                                            revenue management platforms to fuel business growth, it’s important to
                                            understand the full landscape. This means that executives involved in the
                                            RMS evaluation process should prioritize where they direct their time and
                                            attention.

                                            Next-generation RMS are advancing beyond the rules-based model. Using
                                            a rules-based approach today leads to inefficient timing and pricing, and
                                            results in missed profit opportunities, whereas a science-based RMS offers
                                            a more sophisticated and accurate solution.

                                            Forward-thinking hoteliers understand that not all guest are created equal.
                                            Look for an RMS that enables you to determine and act upon total guest
                                            valuations to drive revenue and marketing.

                                            Other differentiators to consider include depth of PMS integration, vendor
                                            reputation for service and support, and whether the RMS has the ability to
                                            inspire a revenue-centric culture. At the end of the day, selecting the right
                                            RMS can mean the difference between profitability and insolvency for your
                                            hotel.
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The Hotel Power Couple
Unlock Profitable Relationships
Between Revenue Management
and Marketing
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By opening up dialogue and working in sync, hotel
marketing and revenue management teams can
collaborate to win a larger share of today’s travelers.
Here’s how to optimally align to compound value
of each department and ultimately enhance your
hotel’s revenue opportunities.


All too often, revenue management and marketing teams operate in silos. Although
the two disciplines use different tool sets and metrics to execute their strategy and
measure their performance, they have a common goal: driving net revenue.

We’ve teamed up with hospitality experts to examine the challenges and
methods to making revenue management and marketing teams powerful
partners in profitability.
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Pairing Up for                                    Jennifer Pochedly, corporate director of
                                                  revenue management at OLS Hotels and

More Profits                                      Resorts agrees.

                                                      If marketing and revenue management
     Revenue Management and Marketing                 teams don’t communicate, they can end
     have evolved into very specific and          up working at cross purposes,” she said.
sometimes dissonant entities that don’t           “Communication is absolutely critical
always connect. The consequence of this           to success.”
disconnect is a failure to meet the hotel’s
full revenue potential.” said Johnathan           With increasing levels of competition, more
Capps, vice president of revenue for              and more properties are vying for the same
Charlestowne Hotels, a hospitality                share of travel spending. Establishing a
management company based                          synergy between marketing and revenue
in Charleston, S.C.                               management is the strongest weapon hotels
                                                  have – allowing them to deftly capture
While both marketing and revenue                  new guests, retain existing customers and
management are vital to a hotel’s success,        maximize spend from every stay.
they typically operate with different
perspectives and different tools to achieve       Bringing together marketing teams and
the same goals. The question becomes,             revenue managers could be an unexpected
how much more powerful could the sum              amplifier to profitability.
be, if these two groups practiced their
disciplines in concert?




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                                                               INDUSTRY EXPERTS
Stop Sleeping in                                                          MISTY WISE
                                                                          Corporate Director of


Separate Beds
                                                                          Ecommerce Strategies,
                                                                          Atrium Hospitality

                                                                Misty Wise has 17 years of hospitality
                                                                experience, including corporate level
By knocking down departmental walls and silos,                  revenue management and most recently
revenue management and marketing teams can                      as the corporate director of ecommerce
                                                                strategies. In her current role at Atrium
compound their value and significantly enhance                  Hospitality, she is responsible for
the hotel’s revenue opportunities, particularly by              strategically leveraging digital platforms
                                                                and new technologies to drive business
partnering together to drive direct bookings from
                                                                to 50 hotels. Previously, she served
the hotel’s most valuable guests.                               as corporate director of digital strategy
                                                                and ecommerce at John Q. Hammons
Their roles, by nature, make them the                           Hotels and Resorts.
perfect pair:

 • Revenue managers can identify gaps in                                 J O H N AT H A N C A P P S
                                                                          Vice President of Revenue,
   demand and pinpoint which guest segment –                              Charlestowne Hotel
   transient, corporate or group – is the most                  Johnathan Capps oversees internal and
   likely to generate more revenue during a                     external revenue management strategies
                                                                at Charlestowne Hotels and works
   property’s need periods and whether any                      with corporate leadership to establish
   offer or promotion should be created                         profitability enhancement methods for the
                                                                company’s portfolio of properties. Prior to
 • Marketing teams, in turn, can create timely,                joining Charlestowne Hotels, Capps was
                                                                director of revenue at Wild Dunes Resort in
   targeted campaigns and execute segment and
                                                                Isle of Palms, S.C.
   timing strategies to drive the required demand,
   powered with thorough knowledge of customer
   preferences and outreach vehicles                                      J E N N I F E R P O C H E D LY
                                                                          Corporate Director of
                                                                          Revenue Management,
                                                                          OLS Hotels & Resorts

                                                                Jennifer Pochedly oversees all on-site
                                                                general managers and revenue managers
                                                                at OLS properties, makes pricing and
                                                                distribution strategy recommendations,
                                                                and works closely with corporate
                                                                resources and external research
                                                                organizations to project market trends.
                                                                Prior to joining OLS Hotels & Resorts,
                                                                Pochedly was revenue manager at Le
                                                                Parc Suite Hotel in West Hollywood, Calif.




                                                         PRO HOTEL MARKETING TIP
                                                         Hotel owners and asset managers are
                                                         now holding marketers accountable for
                                                         generating revenue. So, it’s vital to have
                                                         the right pricing data to generate the most
                                                         revenue from your marketing offers.




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                                      Align & Win
                                      Back Bookings
                                      Together, revenue managers and
                                      marketers are the strongest team to drive
                                      business to the hotel’s own direct-booking
                                      website, its most profitable channel.

                                      Direct business has a major
                                      impact on hotel revenues. It can
                                      deliver a full package of benefits:
                                      Guests who book directly can be
                                      exposed to more of your brand, as
                                      your website guides them through your
                                      amenities and your imagery sparks their
                                      imagination. An obvious plus is you
                                      reduce potentially pricey third-party
                                      commissions. But, most importantly, you
                                      own all the customer data when guests
                                      book direct. This results in a robust guest
                                      database that could stimulate recurring
                                      revenue for years to come.

                                      We spent time with Misty Wise, corporate
                                      director of ecommerce strategies at
                                      Atrium Hospitality to get some “in
                                      the trenches” perspective on the real
                                      power of the marketing and revenue
                                      management power couple.


                                          Teams who identify,
                                          then bridge, the gaps in
                                      data between marketing and
                                      revenue management will
                                      have a distinct advantage
                                      in driving market share.”

                                      MISTY WISE
                                      Corp. Director of Ecommerce
                                      Strategies, Atrium Hospitality




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A Partnership
in Progress
Wise acknowledges that the
partnership between hotel
                                                Revenue managers are tasked to
revenue management and
                                                think like marketers and marketers
marketing is still evolving.
                                             need to think like analysts.”
Different hotels and hotel
management firms have various
programs in place. One of the hurdles
many companies face is the absence of
on-property hotel marketing managers.
A rare crossover of both hotel marketing
and revenue management skills and
insight, Wise was candid about the need
to educate herself when moving from
revenue management responsibilities to
digital marketing.

“Revenue management and marketing
are two different worlds – revenue
management is well-established, while
marketing continues to evolve.” Wise said.
“Moving from one discipline to another
is similar to immersing yourself in a new
culture and learning a new language.”
For the best synergy, she advocates for
both revenue managers and marketers to
carve out time to educate themselves on
their counterpart’s work.

    If these roles continue to operate
    in different worlds, without shared
data, objectives won’t be achieved and
results will fall short of expectations.”

“Today, revenue managers are tasked to
think like marketers and marketers need
to think like analysts,” says Wise.




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Capps supports this position, acknowledging          our blended teams work together
that the relationship between revenue                through many shared applications and
management and marketing has come a long             develop comprehensive strategies that
way in recent years, both industry-wide and          merge revenue’s detailed analysis with
at his company, Charlestowne Hotels.                 marketing’s experiential creative.”
     Here [at Charlestowne Hotels], we               Underscoring the point, Pochedly said
     evaluate the relationship often and             OLS Hotels & Resorts is constantly working
our hotels succeed as a result of our                to get the revenue management and
commitment to fully integrate revenue and            marketing departments in sync.
marketing efforts.” he said. He also noted
that Charlestowne’s corporate office is                    When we meet with our hotel
set up so that the marketing and revenue                   properties, we’re doing it together,
management departments are next to                   so we can talk about how we’re branded,
each other. “My team and I cross paths               whether we need to make changes, what
with marketing counterparts multiple times           promotions we need, and how we can dive
throughout the day” said Capps. “Together,           in to make things better.”




                                      The Danger of Staying Solo
                                      Wise presented a likely scenario: Imagine a property that is battling
                                      dwindling revenue share. In response, the revenue manager and the
                                      marketing manager spend days preparing separate strategies, without
                                      collaborating or understanding the other’s insight or knowledge.
                                      The REVENUE MANAGER uses revenue management data to
                                      determine a low average rate index is at fault. As a result, the revenue
                                      manager decides to manage demand to optimize rate efficiency.
                                      The DIRECTOR OF MARKETING uses marketing data to determine
                                      that there is high demand for discounted business. So, the marketing
                                      team allocates marketing dollars to new strategies and targets this
                                      lower rated demand through advertising.

                                           While they are both working towards the same
                                           goal of increasing market share, they’re
                                      both headed to failure,” Wise said.
                                      The director of marketing will drive occupancy, but see low
                                      conversions since the revenue manager placed fences on lower rated
                                      demand, therefore wasting marketing dollars. The revenue manager
                                      will not realize the full potential of their strategy without the proper
                                      support from marketing analytics.




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Leverage Each                                           Marketing data and analytics
                                                        should drive a revenue

Other’s Strengths                                       manager’s strategic decisions.
                                                        Revenue Management data

and Intelligence
                                                        and analytics should drive
                                                        the targeting and timing of
                                                        marketing campaigns
What is at the foundation of a profitable hotel?
  It all starts with strategy and great strategies
  start with data,” Wise explains.                      UNDERSTAND
Each department holds keys to data that could           EACH ROLE
drive more hotel revenue. Often, however, revenue
                                                        Marketing connects with customers
managers and marketing managers keep this
                                                        directly to drive demand and focuses on
intelligence within their own departments. Bridging     customer acquisition and retention, the
those data gaps and removing barriers that              guest experience, marketing channels
separate the two groups will allow for enhanced         and the brand.
performance across the revenue continuum.               Revenue Management tracks historic
                                                        demand and buying patterns, and
Hotel marketers need to implement a data-driven         analyze current pick-up behavior, then
approach to their marketing campaigns, and              targets areas of priority with profitable
understand the profitability behind them. Successful    pricing strategies.
marketing relies on greater insight into purchasing
patterns and the history of demand from each core
market segment.                                                    The exchange and flow
                                                                   of information between
                                                                   marketing and revenue
                                                                   management should
    Both departments need to be equipped, informed                 be constant. Revenue
     and in solid agreement on how to maximize the                 management and
      hotel’s profitability through strategic revenue              marketing both have data
         management and marketing initiatives.                     that could prove valuable
                                                                   to their sister group.

                                                                   Explore a few specific
        Ideally, marketing has a seat at the                       data points that revenue
        table for all revenue optimization                         management can share
        meetings and a voice in strategy.                          with marketing and
        Revenue management has a seat                              vice-versa, to increase
        at the table for all marketing                             the efficiency of both
                                                                   departments and
        meetings, access to relevant                               ultimately result in a more
        marketing analytics and a voice                            effective cross-pollination
        in where to deploy marketing                               to drive measurable
        strategies,” said Wise.                                    revenue growth.



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The Big Eight:
Revenue
Management
Has It, Marketing                                Hotels that want to position
Needs It                                         themselves for success must take
                                                 this into consideration, asking
1. T
    rends in purchasing behavior                the following questions:
 Our experts agree that technology is              • Do I have the right website to
 changing the marketing and revenue                  adequately support mobile-first users?
 management landscapes. Consumers are              • Do I have the right offers?
 increasingly turning to mobile devices to
 make travel decisions on the fly.                 • Is my highest value guest truly a
                                                     last-minute guest?
 Although mobile research is on the rise,
 consumers continue to book via desktop.         For example, marketing may execute a
 Due to this purchasing behavior it is not       campaign that is focused on driving demand
 necessary to execute a campaign focused         90 days out, when in fact, the hotel is in
 on mobile discounts.                            general, a 30-day-out property.




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2. Identifying periods of weakness
   to avoid a last-minute crisis
 Clearly, identifying your property’s periods
 of weakness in advance helps you avoid
 crisis-driven rate-cutting and last-minute
 campaigning. Pochedly says that identifying
 periods of weakness in order to avoid crisis
 situations is critical.

   We know if we can have more on the
   books seven days before arrival, we
 won’t have to drop rates,” she said.



  Sample scenario:
  Christmas is slow in Los Angeles, so
  OLS creates package promotions and
  ‘members-only’ promotions. “You layer it
  and try to get the most business you can,”
  according to Pochedly.

  Capps said Charlestowne Hotels also
  plans well in advance for slow periods.
  “We know what’s in the pipeline, so when
  there’s a period of weakness, we can just
  tweak an offer or adjust a campaign to
  make it more targeted.”

  He said it’s also important to identify trends
  and patterns, both in demographics and
  geographic regions. It may be that certain
  patterns emerge at the same time each
  year, for example, and the property can
  make the necessary adjustments.

  Yet, even with the best planning,
  emergency situations can occur.

        We’ve learned that as much as you try,
        things happen,” said Capps. “That’s why
  it’s so important for revenue management
  and marketing to have a close working
  relationship. If you have that, then dealing
  with a crisis becomes much easier.”




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                                             3. Data to help marketing
                                                 target more effectively
                                                Capps says it’s critical for the revenue
                                                management department to share data that can
                                                help the marketing team target customers more
                                                effectively. Which dates, segments, seasons, and
                                                channels are performing the best? Which rooms
                                                are bringing in the most revenue?
                                                    Revenue management must keep marketing
                                                    in the loop at all times,” he says. And, while
                                                revenue management and marketing have
                                                different perspectives, they must ultimately set a
                                                common goal if they are to be successful, “In the
                                                revenue world, it’s about following the data; in the
                                                marketing world, it’s about A-B testing. Merging
                                                these two worlds means starting with a goal and
                                                then checking in often so that adjustments can be
                                                made in order to reach that goal.”
                                                Capps also notes that many disparate elements
                                                are involved in this process. For example, if the
                                                hotel’s goal is to grow its ‘book direct website’
                                                channel, then the funds, the content, and the
                                                vendors that go behind it must line up, as well
                                                as the pricing strategy, booking engine strategy
                                                and promotion strategy.

4. A
    nalytics to help marketing tailor campaigns to the hotel’s most
   valuable targets at the right time through the right marketing channels
 Data, not intuition, enables the marketing team to craft campaigns. And the better the data, the
 more accurately the property can target its most valuable guests at precisely the right time and
 through the most effective marketing channels.

 Strategic revenue management considers the total value of each guest based on all available
 revenue streams, including food and beverage, wellness, gaming and retail. Analytics that
 provide a 360-degree view of the guest enable the property not only to predict future
 behavior but also to tailor marketing campaigns that hit the right note at the appropriate time
 and through the most effective channels.

 At OLS, the revenue management and marketing teams meet weekly to review the data.
     We look at rate code analysis and country analysis. Most importantly, we look at the
     market-to-market code analysis to make sure they are all producing properly.”



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5. The reports RM works with each day
 Both Capps and Pochedly work with a variety of reports each day, including property
 management system and revenue intelligence reports, analytics reports, CRM data and social
 media data, blog pickup, forecast vs budget pacing, STR Report.

6. T
    he details and timing of revenue management-driven campaigns
   executed in partnership with OTAs and other third parties
 Pochedly says she sees a dip in the brand whenever she runs campaigns on the OTAs.
     If you want to focus on brand, then running campaigns on OTAs is obviously not a great
     idea. I only utilize these strategies when absolutely necessary.” She says she always
 keeps marketing in the loop, so they are aware of what’s going on. “I always tell ownership,
 too, and let them know that we’re fighting for business right now.” For Capps, it goes back to
 sharing at key points and having overlapping data. “Marketing is aware of any promotions
 happening via third parties; and, we’re doing things with partners that we wouldn’t offer to
 guests directly.” Again, it’s keeping marketing in the loop. They should always be aware of
 promotions happening via third parties.



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                                       7. K
                                           nowledge of research and
                                          booking window
                                        Pochedly, Capps and Wise agree that
                                        it’s critical for the marketing and revenue
                                        management departments to share
                                        information about booking pace.
                                           We discuss how many reservations are
                                           coming in during our regularly scheduled
                                        calls,” said Pochedly. Capps extends on that
                                        adding that it’s important to understand
                                        that the booking window is constantly
                                        changing and shortening. “Understanding
                                        the booking window allows marketing to
                                        target messages to guests at exactly the
                                        right time,” he said. “It’s also important
                                        to understand the difference between a
                                        searching guest and a guest with intent to
                                        book,” he said “It all goes back to when a
                                        guest books and how far out.”

                                       8. Which segments need more
                                          attention and when – leisure,
                                          group or corporate?
                                        Pochedly says the time of year plays a big
                                        role in the segments OLS targets. During
                                        December, for example, the company
                                        focuses on leisure travelers.

                                        She said the day of the week also factors
                                        into the decision-making process. Most
                                        corporate travelers arrive on Tuesday and
                                        Wednesday, whereas most leisure travelers
                                        arrive on the weekend.

                                        She also notes the industry is seeing an
                                        increasing number of ‘bleisure’ travelers
                                        – people who combine business with
                                        leisure. There’s opportunity to market to
                                        these consumers with special weekend
                                        promotions.

                                        Capps said Charlestowne Hotels is heavy in
                                        the leisure market. “We keep up with all the
                                        trends, but especially those in that segment.”



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What Marketers
Need to Share
with Revenue
Managers
Marketing focuses on customer acquisition and
retention, the guest experiences and the brand.
    The analytics behind marketing are
    undeniable,” said Wise. “Once you start
aligning with your revenue manager, you
can have a significant impact on your
bottom line.”

According to Wise, hotel marketers
should inform revenue managers of:

1. N
    ew and Emerging                                   messages to the right audience, at the
   Marketing Methods                                   right time, to the right place, and – with the
  Supply your knowledge of all viable hotel            help of your revenue manager, the right
  marketing methods and opportunities.                 price. Keep revenue managers up-to-date
  Then, Wise says work with your revenue               with what your customer data reveals, like
  managers to decide which methods and                 purpose of guest visits, preferred methods
  target audiences are best to drive revenue           of booking, influences and expectations.
  through these new sources.
                                                        Sample scenario:
  Sample scenario:                                      Marketing can be delivered to finely
  You suddenly have distressed inventory.               detailed audiences. Consider a hotel that
  In the past, a hotel may turn to deeply               boasts high demand for ethnic celebrations.
  discounting rates to occupy rooms. Today,             Their marketing analytics revealed the
  a digital marketer can offer advertising              geographical region where searches for
  solutions to promote retail or marginally             these types of events originated. The
  discounted rates to targeted audiences with           hotel combines this intelligence with other
  an immediate call to action.
                                                        analytics, which now allows the property to
                                                        tailor promotions specific to the demand
                                                        driver, market to them and track results.
2. Current Customer
    Buying Behaviors
  Use industry tools to track online visitor
  behaviors, then deliver relevant marketing



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3. Most Lucrative                                      5. International vs domestic
    Marketing Channels                                      booking trends
 Track which channels are bringing in                     Capps said he looks to marketing to tell
 the most traffic at the highest rate with                him about the geographic composition
 the lowest overhead and then work with                   of guests.
 your revenue manager to leverage these                   Pochedly says that OLS uses geo-
 channels to grow revenue by segment.                     targeted ads to target both domestic
                                                          and international consumers, particularly
4. D
    emographics of Most                                  surrounding major events.
   Engaged Guests
                                                          Contrary to domestic consumers,
 Report back to your revenue management                   International consumers have a higher
 team with traffic source details, including              length of stay and a lower cancellation
 where guest travel from, how long they                   rate. Domestic consumers are a more
 stay and what they purchase on property.                 appropriate target to capture last
                                                          minute business.
 This gives revenue managers the insight
 to create profitable pricing strategies
 targeting these audiences.                                Sample Scenarios:
                                                           OLS pushed out a geo-targeted ad to Brazil
                                                           when a major soccer tournament was held in
  Sample scenario:                                         Los Angeles that brought in many Brazilians.
  If 75 percent of your followers are women aged
                                                           Prior to the 2018 Rose Bowl, OLS sent
  35-40, a package or promotion that targets
                                                           geo-targeted ads to the states of Georgia
  demographics outside of that is less likely to           and Oklahoma, both of which had teams
  produce revenue.                                         playing in the game.




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6. C
    urrent and Upcoming
   Marketing Campaigns
 Wise advises against moving forward
 with new marketing campaigns without
 collaborating with the revenue optimization
 team. “Sales and revenue can share data
 and contribute insights on key points
 including booking and stay pattern data.
 Many times marketing and revenue
 analytics have similar data reported on
 booked vs stayed and paid. Both are
 valuable. You lose the full power of the
 data without collaboration.”

7. Marketing Reports
 Show revenue managers the
 “whole picture” by disclosing these vital
 marketing metrics and reports:
   a. Website traffic and analytics
   b. Paid search results
   c. Search engine ranking results
   d. Traffic summary
   e. Email marketing campaign results
   f . Social media activity and results
   g. Channel contribution
   h. Guest review/sentiment
   i. OTA analytics
   j.	Historical and future performance
       compared to competitive set
       (using a modern rate shopping solution)




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Driving Revenue Together
Keys to a Powerful Revenue Optimization Team
The lines between both departments are blurring.
    Both marketers and revenue managers must take the initiative to educate
    themselves on the others’ world,” Wise recommends. This includes trends,
technology, and tactics. Her tips include: Follow influencers from both fields,
join organizations such as HSMAI, find free resources online, listen to
podcasts. “Spend time understanding your counterparts,” she advises,
“and it will enhance strategy and drive results.”




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Build the
                                                           WE RECOMMEND:
Optimal Revenue
Management/
Hotel Marketing
Power Couple
• Attend Industry Tradeshows Together
 Present a unified front at industry events. Work
 together to showcase comprehensive insight
 into your markets and profit potential to partners         August 15-17, 2018 | Omni Nashville Hotel
 and clients. Brainstorm how to best reach out to               Hosted by STR and Hotel News Now
 customers, then offer marketing knowledge and                  Sponsored by
 tools to revenue management customers and
 revenue insights and tools to marketing partners.                learn more at
                                                            hoteldataconference.com
• Share Expectations and Frustrations
 Not only does frequent face-to-face interaction
 between colleagues facilitate trust, it ultimately
 creates greater collaboration and understanding.
 These benefits do not occur through email or text,
 but through authentic in-person interactions.

• Bring The Group Together
  for Teambuilding
 One of the best ways to see more ROI from your
 team is to have fun. Teambuilding can mitigate
 conflicts, boost trust, encourage communication,
 and improve collaboration – making it one of the
 smartest investments towards boosting your hotel’s
 bottom line. Spending time outside the office and
 sharing a memorable experience allows bonding to
 happen effectively and organically.                  June 19-20, 2018 | George R. Brown Convention Center
                                                       Sponsored by
     There is no final destination. You should
     continue to educate and empower your teams                         learn more at
to collaborate and align strategies.” said Wise.                      hsmai.org/events




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SUMMARY:                                               4) U
                                                           nderstand the acquisition cost and impact
                                                          of OTA commissions on the property

Best Practices                                           It’s important to know how the revenue
                                                         flows to the bottom line.
1) L ive in your ‘go-to’ data and routines:           5) Be willing to take chances
  Have a set routine to start your day,                  Although systems and data can point you
  especially when it comes to reviewing the              in a particular direction, the revenue
  daily numbers for your property.                       manager must be willing to take an
                                                         occasional chance.
2) Find time to challenge the norms
  This refers to things like segmentation,                    Revenue managers are often gun-shy
                                                              rather than trigger-happy,” Capps said.
  room types and channel performance.
                                                         “Sometimes, you need to strike while the
  It takes some deep dives into those.
                                                         iron is hot. If you’re not willing to take a
  Analyze what you’re seeing and make sure
                                                         chance, you’ll miss a lot of opportunities.”
  the behavior you’re seeing there is what
  you’re accustomed to seeing.                         6) Build revenue & expense budgets together
3) Cross-collaborate                                     According to Capps, at Charlestowne
                                                         Hotels, revenue and expense budgets are
  Make sure the revenue management                       created in tandem. Then, there are required
  and marketing teams regularly review all               working sessions where the departments
  the data, not just the metrics from their own          get together and review everything.
  departments. Also, get input from the sales            Pochedly also says it’s especially important
  and operations teams. Everyone should be               for revenue management and marketing to
  on the same page.                                      work together to build budgets at OLS.




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7) Agree on monthly and rolling
   forecasts together
 When it comes to monthly and rolling
 forecasts, Capps said there should be
 collaboration on reviewing and completing
 them Pochedly agrees that both the
 marketing and revenue teams, along with
 the general manager and controller, should
 be involved in the process.

    You have to work together to have a
    successful forecast,” she said. “You
 also have to know what’s in the pipeline –
 groups, promotions, F&B components. It’s
 hugely important to be as complete and
 accurate as possible.”

8) C
    onduct on-going business
   reviews together
 As a management company with many
 properties, Charlestowne Hotels uses
 online support systems that enable teams
 to communicate and share with each other
 or to ‘tag’ someone on a to-do list. Capps
 notes that one of the company’s best
 practices is to use tools to communicate.

   A weekly in-person meeting isn’t always
   possible. So, having technology that
 facilitates communication is critical to
 success.”
 OLS holds weekly meetings where
 revenue management and marketing
 review everything:

   i. Examine periods of weakness
   All of our experts note the
   importance of knowing the
   property’s down periods and
   being prepared. ”Organization is
   essential,” said Capps. “So often,
   people are scrambling to get on
   the same page. But, if you have


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                                           the right tools and systems in
                                           place, then it’s all about what the
                                           response will be versus who is
                                           going to handle it.”
                                           ii. Identify segments that are
                                                causing the shortfall - Pochedly
                                                says it’s critical to keep an eye
                                                on trends. “Otherwise, you can
                                                end up in trouble.”
                                           For Capps, it goes back to goals
                                           and budgeting. “Don’t just check
                                           in at the beginning and the end,”
                                           he advises. “There must be key
                                           scheduled dates in-between,
                                           at least a monthly meeting
                                           between marketing and revenue
                                           management.” He also notes
                                           the importance of not having to
                                           search for information. “Internally,
                                           there should be a place to access
                                           data in some sort of presentation
                                           format.”
                                       9) Determine what can be done
                                          as a unified team. Then, do it.
                                         Wise, Pochedly and Capps all agree that
                                         organization and systems are critical
                                         for success. At Charlestowne Hotels,
                                         efficiencies in reporting make it easy for
                                         marketers and revenue managers to see
                                         what’s going on at a given property.

                                           A segmentation report for a hotel in
                                           California is formatted exactly like the
                                         segmentation report for a resort in South
                                         Carolina,” Capps said. “So, people know
                                         where to look and they know what they’re
                                         looking at, regardless of the property.”




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   THE NEW ERA OF
     DATA-DRIVEN
  GUEST EXPERIENCES
          How the vast amount of your hotel data can help
                personalize the guest experience.




TO STAY COMPETITIVE,
Hotels must deliver personalized experiences to build loyalty and maximize
the lifetime value (LTV) of their guests. Advancements in technology have
produced tools hoteliers need to make the most of their data. They can
now create seamless, personalized experiences for guests while optimizing
revenue opportunities at every touch point.




                                                           of consumers
                                                           are more likely
                                                  %
                                     80                    to engage with
                                                           companies that
                                                           offer a
                                                           personalized
                                                           experience.
                                                           (Epsilon Research)




   69% of travelers are more
   loyal to a travel company
   that personalizes their
   experiences online and ofﬂine.
   (Google)




                                                  80%
                                                80% of consumers
                                                are willing to share
                                                data with companies
                                                in exchange for
                                                personalized offers
                                                or data-enabled beneﬁts.
                                                (Columbia Business
                                                School Research)




                        86% of guests want to select
                        their room based on personal
                        preferences. (Zebra Hospitality)




                                       Increasing
                                       personalization
                                       can increase
        500%                           consumer spending
                                       up to 500%.
                                       (The E-Tailing Group)




                       75% of consumers are more likely
                       to buy from brands that recognize
                       them by name, recommends
                       services based on past purchases,
                       and knows their purchase history.
                       (Source: Accenture)




  More than 70% of hotel guests
  report having positive experiences
  with personalization.
  (Source: IBM)




               % travel brands indicated that customer
   67                 loyalty could be improved by
                      investing more in data and analytics.
                      (EyeforTravel)




              THE NEW ERA OF DATA-DRIVEN
                  GUEST EXPERIENCES

 Guests want to feel recognized and appreciated while experiencing their
   needs anticipated and fulfilled. Contact us to learn more about how to
  create repeat and loyal guests with the data you are already collecting.



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                          The 2018 Smart
                          Decision Guide                            TM



                          to Hospitality Revenue
                          Management
Everything you need to know about Hospitality Revenue Management –
and how to select the right solution and/or services for your organization




                          Underwritten, in part, by:




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                    and distributed by:
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“You don't need a weatherman to know which way the wind blows,” sang Bob
Dylan in his classic 1965 song “Subterranean Homesick Blues.” He was right.
Knowing which way the wind will blow in the future, on the other hand, is a whole
different matter. It requires not only a weatherman, or meteorologist, but also
massive amounts of data and computational processing power. Accurate weather
forecasting means knowing the temperature, humidity, air pressure, soil moisture
and wind speed at many different points and elevations. The predictive model may                                                        The best
also call for multiple other types of data sourced from historic observations of the                                                    revenue
atmosphere and underlying surfaces. In addition, accurate weather forecasting                                                           management
requires advanced technologies like Doppler and dual polarization radar and next-                                                       solutions can
generation analytic software. As a result, seven-day weather forecasts today are                                                        generate
more accurate than were 24-hour forecasts only a couple of decades ago.                                                                 pricing
                                                                                                                                        strategies
By the same token, you don’t need a revenue manager to know how many guests                                                             based on real-
are currently checking into a hotel. However, knowing how many guests will likely                                                       time analysis
check into a hotel a few weeks or a few months out — and knowing what types of                                                          of all relevant
guests they will be, what kinds of rooms they will want, how much they will be                                                          data,
willing to pay to stay at the hotel and how much they will likely spend during their                                                    automating
stay — presents a much bigger challenge. Accurately forecasting guest room                                                              the decision-
demand by segment, room type and rate, and ensuring that the hotel maximizes
                                                                                                                                        making
the value of guests through optimized pricing tactics, may be even harder than
                                                                                                                                        process for
accurately forecasting the weather.
                                                                                                                                        pricing rooms.
What is certain is that in a dynamic market characterized by ever-changing
numbers, patterns and results, it is impossible to optimize room rates and overall
revenue outcomes without the right data from a diversity of relevant sources. It is
also impossible to do so without a next-generation hospitality revenue
management solution. The good news is that some of these solutions have
become extremely sophisticated and effective, fueled by the rapid growth of big
data processing, demand forecasting and pricing optimization models. The best of
these solutions have the ability to generate pricing strategies based on real-time




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analysis of all relevant data, automating the decision-making process for pricing
rooms, driving increased revenue per available room (RevPAR), and finally giving
hotel operators the level of inventory management control that has eluded the
hotel industry since its initial foray into revenue management, and especially with
the proliferation of the OTAs.


Also commonly known as yield management, demand pricing, dynamic pricing,                                                                 The solutions
time-based pricing and (in the world of ridesharing services) surge pricing, the                                                          automate the
concept of revenue management is hardly a new one. But the techniques and                                                                 decision-
enabling technologies that hotel operators used even a decade ago were                                                                    making
extremely rudimentary by today’s standards — and, certainly, a far cry from next-                                                         process,
generation platform capabilities that harness the power of data and analytical                                                            driving
models to automate the decision-making process for pricing and distribution.                                                              increased
                                                                                                                                          revenue from
Today, most hotel operators view the need to progressively improve their                                                                  all parts of the
revenue management capabilities as a strategic imperative worthy of garnering                                                             hotel property
ever-increasing amounts of attention and resources, given the opportunity to                                                              while giving
improve financial performance in highly predictable ways. For most hotel
                                                                                                                                          hoteliers
operators, the investment in upgrading their revenue management capabilities
                                                                                                                                          greater
has paid off in spades. In fact, according to research conducted for this Smart
                                                                                                                                          inventory
Decision Guide, large and very large hotels have enjoyed, on average, a 10
                                                                                                                                          management
percent increase in RevPAR, often resulting in millions of dollars in additional
                                                                                                                                          control.
profit. Midsize and limited service hotels have faired only slightly less favorably,
with a 7 percent average increase in RevPAR.


Of course, not all revenue management initiatives are the same. Different
approaches, technologies and resources produce dramatically different results.
This Smart Decision Guide offers hotel operators a framework for upgrading their
revenue management capabilities and insights for selecting the right solution in
the context of their hotel or resort’s specific needs. It also offers practical advice
for putting the right resources, processes and metrics in place to maximize
success and drive continuous performance improvement.



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Chapter 1


Topic Overview and
Must-Ask Questions
Key Concepts
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In his seminal 2004 book The Wisdom of Crowds, author James Surowiecki wrote
about the economics of movie theaters. He observed that when it comes to
maximizing profits, flat movie ticket pricing is a fundamentally flawed approach.
That’s because consumer demand for a movie varies in predictable ways
depending on any number of factors, including the movie’s release date, its
cumulative Rotten Tomatoes score, its expected popularity (e.g., in the case of a
sequel in a hit franchise), its production cost, its star power, how long the movie
                                                                                                                                          The challenge
has been in theaters and whether it has received any major awards or nominations.
Yet movie ticket prices have seldom fluctuated. According to the author, the failure
                                                                                                                                          of revenue
of theaters to develop a flexible pricing model based on demand has been “one of
                                                                                                                                          management
the more perplexing examples of the triumph of convention over rationality.”
                                                                                                                                          has become
                                                                                                                                          increasingly
If the goal is to maximize revenue — which, of course, it is — then static movie                                                          complex as
ticket pricing simply makes no sense. That is why, however belatedly, major movie                                                         the basic
theaters are now testing the waters with variable ticket pricing. Regal                                                                   approach to
Entertainment Group, the second largest movie theater chain in the United States,                                                         pricing guest
just announced plans to test a new pricing model designed to drive incremental                                                            rooms has
revenue in peak periods and incremental attendance in nonpeak periods. Not                                                                evolved
wanting to leave money on the table, major theme park operators, including
                                                                                                                                          beyond “best
Disney and Universal Studios, are also getting into the demand-based pricing
                                                                                                                                          available rate”
game. Tickets cost up to 20 percent more during peak periods than during slower
                                                                                                                                          (BAR) pricing
periods. With consumers having come to accept the idea of variable pricing —
                                                                                                                                          techniques.
thanks, in large part, to the popularity of ridesharing services like Uber and Lyft
that hike transportation rates when demand is higher (much as the airline industry
has done for decades) — industries ranging from rental car providers to parking
lot operators are turning their attention to advanced revenue management tactics.


For hotel operators, the challenge of revenue management is particularly complex.
It has become increasingly so as the basic approach to pricing guest rooms has
evolved from a technique that uses “best available rate” (BAR) pricing to one that
uses dynamic pricing based on data-driven demand forecasts. BAR pricing yields
one primary rate with tiered percentage or flat amount based discounts off BAR
differentiating prices across distribution channels. The discounts are usually fixed




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percentages that move up or down on different dates. Next-generation techniques,
on the other hand, make dynamic pricing and distribution decisions based not on
BAR, but, rather, on real-time analysis of multiple data sources. At a minimum, these
data sources generally include the hotel’s own historical data, its booking site data,
competitor pricing data and competitive set and digital review data, much of which is
available within the revenue management solution from third-party providers. With
data access and technology capabilities having evolved almost beyond recognition,
                                                                                                                                           Hotel
hotel operators today have the opportunity to achieve the ultimate promise of
                                                                                                                                           operators
revenue optimization: to sell the right space at the right price at the right time to the
                                                                                                                                           today have
right guest.
                                                                                                                                           the
In this context, space has commonly referred to guest rooms. Large hotels may have
                                                                                                                                           opportunity
dozens of room types. For a long time, revenue management was all about filling                                                            to achieve the
empty rooms with paying guests. Today, the goal is no longer just about increasing                                                         ultimate
guest room occupancy, with no consideration given to the pricing decisions in terms                                                        promise of
of the long-term implications. Nor is it just about rooms. Business and social event                                                       revenue
function space, recreational facilities, restaurants and spas also now factor into the                                                     optimization:
equation. According to the Center for Exhibition Industry Research, demand for                                                             to sell the
function space is growing at up to quadruple the rate of supply, with the daily cost                                                       right space at
per attendee having increased by 4.5 percent last year. For some hotels, function                                                          the right price
space revenue may account for more than half of the property’s total revenue.
                                                                                                                                           at the right
                                                                                                                                           time to the
Price refers to room rate, which may be influenced by multiple factors, including how
                                                                                                                                           right guest.
far in advance the reservation is booked and what the hotel’s competitors are
charging. Importantly, revenue management now involves optimizing profitability
and not just revenue. It means analyzing ancillary revenue streams (e.g., food and
beverage as well as golf, spa, etc.) along with related cost data to understand profit
contributions by guest segment. For hotels with casino operations, even the
“theoretical loss” (the amount of money a player can be expected to lose during their
stay) can factor into the pricing model.


Guests, which may include individuals as well as groups, can be grouped together
using meaningful segmentation schemes. Guests who book through a discount site,
who purchased a package deal or who took advantage of a special rate promotion


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may, for example, be grouped together for price sensitivity. Length-of-stay is another criteria for factoring
pricing. So, too, can the extent to which guests utilize the spa, casino or other facilities. Business travelers
usually have different wants and needs than leisure travelers and thus may be grouped together. Guest
segmentation lays the foundation for revenue management.


Given the sheer volume of data, it is no longer feasible for revenue managers to spend their time manually
reviewing one forecasting and demand report after another and analyzing mountains of data in their quest
to make better pricing and inventory control decisions. Next-generation revenue management solutions
allow revenue managers to focus their efforts on more strategic tasks and allows hotels to generate better
business results. The ability to automate pricing and distribution decisions makes the business case an easy
one from an ROI perspective. In addition to improving RevPAR and other key performance indicators, hotels
can improve marketing and sales effectiveness, generate competitive intelligence, and gain insights into
occupancy trends, guest demographics, market positioning and channel profitability.


                                                          Reduce time to generate and                                    Generate optimal pricing
           Increase revenue                                 execute pricing decisions                                      decisions
           Increase profitability                         Reduce time associated                                         Improve predictive abilities
           Maximize occupancy                              with traditional pricing                                        (occupancy, arrivals, etc.)
           Increase ancillary                              tactics                                                       Gain market and guest insights
            revenue                                       Utilize revenue managers’                                      Gain sales and channel
           Identify new revenue                            time more effectively                                           profitability insights
           opportunities                                  Improve marketing                                              Improve performance
                                                           and sales efficiency                                            reporting


Research Data Point
What are the biggest benefits one can expect to gain with next-generation hospitality revenue management?

        Increase hotel revenue and profits                                                                                                         98%

   Reduce time and costs associated with
                                                                                                                                             91%
         traditional pricing tactics
        Improve accuracy of pricing and
                                                                                                                                            87%
             distribution decisions
       Gain competitive intelligence and
                                                                                                                                 76%
                 market insights

   Improve marketing and sales activities                                                                                     73%

                                                        0                 20                40                60                 80               100
  Research findings are derived from the Q4 2017 survey on Hospitality Revenue Management.



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When it comes to evaluating platform capabilities, it is a good idea to include
someone with revenue management expertise in the decision-making process. That
said, one can gain a good understanding of next-generation capabilities without
knowing how to analyze statistics and yield data to identify market trends, pinpoint
new business opportunities and minimize risk — and without working knowedge of
yield exemptions, capacity management, duration control, overbooking practices and
displacement analysis. This section provides a cursory overview of some of the key                                                        Revenue
concepts related to revenue management practices, starting with the ever-evolving                                                         managers
performance metrics that are commonly used to track and measure success.                                                                  today have an
                                                                                                                                          embarrass-
Relevant data sources. When it comes to data, revenue managers today have an                                                              ment of riches
embarrassment of riches. There is practically no end to the number of internal and                                                        when it comes
third-party data sources at their disposal. The question is: What data is relevant to                                                     to data in that
the model? Almost everyone would agree that the volume and depth of clean
                                                                                                                                          there is
historical data related to occupancy, rate and revenue figures (including booking
                                                                                                                                          practically no
dates, rate codes, arrival dates, departure dates and revenue by day) provides the
                                                                                                                                          end to the
strongest basis for forecasting accuracy. Market-level data, including publicly
                                                                                                                                          number of
available competitor rate information, also ranks as a must-have data source. Future
flight demand, weather reports and geographical information (where guests are
                                                                                                                                          internal and
arriving from) may be used for forecasting purposes. Web shopping data (the
                                                                                                                                          third-party
number of consumers looking at and booking rooms and at what price, as well as                                                            data sources
the percentage of visitors abandoning the hotel website) may also provide some                                                            at their
insights into current and future room demand as well as price sensitivity. The                                                            disposal.
number of website visitors tends to correlate to the frequency of last-minute
arrivals. Because consumers are shopping beyond hotel websites, there are insights
to be gleaned from the travel distribution network, as well. Another option is
“customer worth data” on hotel rewards club members. Yet another potentially
valuable data source may be user-generated content in social media. In the end,
accuracy in revenue forecasting tends to be a matter of quality over quantity rather
than the more the merrier. Revenue managers may be excited about the ever-
growing number of available data sources. But incorporating every last bit of data
into their models can be a recipe for disaster. At a certain point, more data can
simply mean more noise.



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Useful performance metrics. The most commonly used metric for measuring
how well a hotel is managing its inventory and rates is revenue per available
room (RevPAR), which is calculated in one of two ways: by either multiplying the
average daily rate (ADR) by occupancy or by dividing the total guest room
revenue by the total number of available rooms and then dividing that number
by the number of days in a given time period. Just to be clear, occupancy refers
to the percentage of guest rooms that are occupied during a given time period                                                              While RevPAR
while ADR refers to the average room revenue per occupied room. Some hotel                                                                 provides a
operators still make the mistake of focusing their promotional efforts solely on                                                           good picture
increasing room occupancy, no matter that higher occupancy can, in some cases,                                                             of overall
actually lead to lower profits. Yet while RevPAR provides a good picture of                                                                hotel
performance, it fails to measure actual profitability. That’s because RevPAR                                                               performance,
doesn’t take into account costs per occupied room (CPOR). Without knowing the                                                              it fails to
operating costs, it’s not possible to calculate the actual profit margin or                                                                measure
determine target optimal occupancy. Hence the emergence of gross operating                                                                 actual
profit per available room (GOPPAR), which takes into account not only the                                                                  productivity
amount of revenue generated but also the actual operational costs. Still, neither                                                          because
RevPAR nor GOPPAR look at non-room revenue streams such as restaurants,                                                                    doesn’t take
casinos, parking, spas, golf courses, etc. This shortcoming helps explain the                                                              into account
advent of other metrics like TRevPAR (total revenue per available room). In                                                                costs per
addition, the industry is seeing new metrics around performance in other areas.
                                                                                                                                           occupied
Function space revenue performance can be measured in terms of meeting room
                                                                                                                                           room.
utilization, attendee density and revenue per attendee. Revenue generating index
(RGI), also known as RevPAR Index (RPI), looks at relative hotel revenue
performance, by measuring the extent to which a hotel is achieving its “fair share”
of revenue in comparison to a defined group of hotels. RGI is calculated by
dividing the hotel’s RevPAR by the RevPAR of the competitive set (the data for
which can be obtained through a third-party provider). Similarly, average rate
index (ARI) measures the extent to which the hotel is achieving its “fair share” of
ADR. It is calculated by dividing the ADR of the hotel by the ADR of the
competitive set. RGI and ARI — and, also, market penetration index (MPI) —
provide a solid basis for performance comparison in the market.



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Intelligent pricing. With next-generation revenue management, the idea is to
automatically forecast demand and capacity for a perishable product or service
and then price that product or service in a way that maximizes profits for the
business. Here a key concept to keep in mind is price elasticity of demand.
Demand is sensitive to changes in price and price is sensitive to changes in
demand. Generally, hotels have a lot of elasticity because the main product in
demand — guest rooms — is both perishable and fixed in capacity. Starfleet                                                                   Demand is
Research defines intelligent pricing as the science of making decisions for how to                                                           sensitive to
maximize room occupancy at the best possible price while factoring in all the                                                                changes in
related revenue questions in a real-time or near real-time manner. Questions that                                                            price and
intelligent pricing addresses might include: What is the optimal price to charge in                                                          price is
order to maximize revenue, accounting for the fact that demand will change as                                                                sensitive to
the price changes? What is the best possible rate for a guest room, taking into                                                              changes in
account the type of room as well as the length of stay? How can a hotel ensure                                                               demand.
that discounted price promotions won’t dilute revenue and profits in the long                                                                Hotels have a
run? Intelligent pricing addresses these questions by analyzing demand forecasts,                                                            lot of
competitor rates, price sensitivities and various other inputs and factors, including
                                                                                                                                             elasticity
demand drivers like seasonality, day-of-week differences and market dynamics.
                                                                                                                                             because
Intelligent pricing is forever evolving with new approaches to forecasting demand
                                                                                                                                             rooms are
and dynamically pricing room rates based on expected demand and capacity. For
                                                                                                                                             perishable
example, with the ability to price room types, channels and dates independently
                                                                                                                                             and fixed in
of each other, some hotels are adopting a pricing strategy based on the idea that
                                                                                                                                             capacity.
different prospective guests should be offered different rates depending on
which guest segment they fall into as well as which channel they are using for
booking their reservation. The important point is that intelligent pricing can
translate into financial outcomes. Consider: A mere $2 reduction in the ADR for a
500-room hotel with a 75 percent occupancy rate would cost a hotel more than a
quarter million dollars in lost profit in a single year. Advances in intelligent pricing
are changing the revenue management game, enabling hotel operators to better
optimize their business.




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Chapter 2


Buying Considerations
Must-Ask Questions
and Evaluation Checklist
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Most hotel operators, particularly those with properties in popular destinations,
have a lot to celebrate. In the United States, the industry has enjoyed eight straight
years of RevPAR growth. Industry analysts agree that the party may be far from
over. STR and Tourism Economics predict that U.S. hotel occupancy rates this year
will increase to 66 percent, ADR will rise 2.4 percent, and RevPAR will increase 2.7
percent. The luxury and independent chain segments are expected to report the
largest increases in occupancy, according to these research firms, while
independent hotels are forecasted to see the most substantial growth in ADR and                                                            The
RevPAR. PwC forecasts occupancy to reach the highest level in more than 35 years.                                                          widespread
                                                                                                                                           adoption of
The steady climb in hotel occupancy rates and record-breaking RevPAR growth                                                                data-driven
continues, albeit at a slower rate, even despite the emergence of some very real                                                           revenue
challenges to the hotel industry. These include the onerous commission structures                                                          management
imposed by online travel agencies (OTAs) and the effect of Airbnb and smaller                                                              strategies and
online marketplaces operating in the so-called sharing economy. In addition, there                                                         advanced
is the simple fact that, in many markets, supply consistently outpaces demand,                                                             technologies
reducing hotels’ pricing power. Many hotels have been hampered by internal                                                                 no doubt
challenges, as well, not the least of which, in some cases, is the limited number of                                                       deserve a lot
rate codes imposed by legacy property management systems, constraining the
                                                                                                                                           of the credit
number of price points a hotel can offer potential customers.
                                                                                                                                           for continued
                                                                                                                                           RevPAR
The widespread adoption of data-driven revenue management strategies and
                                                                                                                                           growth.
advanced technologies no doubt deserve a lot of the credit. These capabilities
make it possible for hotel operators to yield rates more aggressively than ever
before. Data is the new oil, as they say, and analytics is the engine that converts the
data into increased profitability, as evidenced by these record levels of RevPAR
growth. Until recently, the idea of a revenue manager gazing into the dashboard
equivalent of a crystal ball and generating precise demand forecasts for every night
of the year across every room type and every guest segment was the stuff of
fiction. Now, revenue managers have the tools to generate millions of new
forecasts based on analysis of demand forecasts, competitor rates, market
conditions, price sensitivities and demand drivers like seasonality, day-of-week
differences and market dynamics.


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A state-of-the-art solution is capable of generating tens of thousands of optimal
pricing decisions on a daily basis, and there is reason to believe that revenue
management capabilities will get even better as the analytics continue to evolve. In
fact, according to research conducted for this Smart Decision Guide, more than half
(53 percent) of today’s hotel operators believe that revenue management will
become even more automated with further advances in data analytics capabilities.
So, which technology solution is the right one? How can a hotel operator be
assured that the solution they implement will best meet the needs of th hotel and                                                         More than
enable revenue managers to achieve optimal results? The following are just a few                                                          half (53
key buying considerations to keep in mind.                                                                                                percent) of
                                                                                                                                          today’s hotel
Technology interoperability and data integration. Hotel operators today can                                                               operators
gain a deep, unprecedented understanding of their guests —who they are, what                                                              believe that
they do, what their preferences are, and how much they spend across the property.                                                         revenue
Combining the platform capabilities of a next-generation property management                                                              management
system (PMS) and an advanced revenue management solution, hotels can                                                                      will become
automate decision-making processes in ways that can make a world of difference                                                            even more
in terms of pricing and inventory management. Technology integration is key to
                                                                                                                                          automated
revenue management success. The PMS, the central reservations system (CRS) or
                                                                                                                                          with further
channel manager, and the revenue management solution all need to seamlessly
                                                                                                                                          advances in
connect and share data —preferably, in a real-time manner. Inventory-related data
                                                                                                                                          data analytics
needs to flow into all distribution channels, including direct booking platforms and
                                                                                                                                          capabilities.
call centers, as well as the global distribution system (GDS) and OTAs. The CRS
needs to publish optimal pricing decisions and channel recommendations based on
input from the revenue management system. In short, no revenue management
solution can be treated as a standalone application. It needs to seamlessly integrate
with multiple data streams. It needs to integrate with marketing, sales and
distribution systems as well as with OTAs and other third-party channels. Internally,
point of sale (POS) data needs to integrate with PMS data to provide a holistic view
of a guest’s stay, including their ancillary spending on food and beverages, guest
services, spa visits, etc. Buyers need to know that all technology components and
data sources are compatible with the solution and also that all historical PMS data
can be readily extracted and validated.


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Cloud computing data processing power. Advances in data processing power,
largely enabled by the rapid growth of cloud computing, are enabling solution
providers to develop capabilities that revenue managers have been striving
towards for more than a decade. Advanced revenue management solutions are
able to process increasingly large volumes of data, and faster than ever. With the
advent of a next-generation hospitality platform built for the cloud, the grand
movement to unify the disparate and fragmented technologies and data silos has
                                                                                                                                           The totality of
become an achievable goal. Hotels can connect and seamlessly share data in the
                                                                                                                                           the data set
cloud across all parts of the property or properties and across all of the various
hospitality solutions. For a large property, the totality of the data set may include
                                                                                                                                           may include
dozens of guest segments, a dozen or more room types, several years of historical
                                                                                                                                           dozens of
booking and reservations data, and upwards of a dozen length-of-stay buckets.
                                                                                                                                           guest
Advanced processing power makes it possible to include real-time integration of
                                                                                                                                           segments, a
customer lifetime value (CLV) into pricing and availability, modeling consumer
                                                                                                                                           dozen or
behavior from click-stream data, and integrating loyalty and total property spend                                                          more room
data. Add to the mix competitive rate data, demand data, multi-market economic                                                             types, years of
data, and even air traffic and weather predictions, if desired. Combining all of these                                                     historical
data sets for just one hotel could amount to several hundred million observations.                                                         booking and
Generating the pricing and distribution recommendations could easily require                                                               reservations
result in thousands of decisions being generated each day for every day into the                                                           data, and
future. Multiply that number for a hotel chain with dozens of properties and it                                                            upwards of a
quickly becomes clear that, more than anything, revenue management is a big data                                                           dozen length-
challenge. As an example, one major hotel brand recently revealed that it generates                                                        of-stay types.
more than 45 million forecasts nightly for each hotel, segment, room type, and
channel for the next 365-day period. Needless to say, the processing and
algorithms require an enormous amount of data storage and processing capacity
to accomplish this task. While even global hotel brands may not have data
processing requirements that are in the same league as Amazon, Apple, Facebook
or Google, their data processing needs are certainly large enough to constantly
stretch the limits of on-premise data storage and computing capacity, hence the
need for cloud-based deployment. Prospective buyers need to know that any
revenue management solution under consideration can handle the rigors of big
data processing and optimize pricing calculations in highly compressed timeframes.


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Channel management and optimization. Rates and inventory information need
to be reflected accurately across all systems and touchpoints, including OTAs and
other partner- and guest-facing channels. Otherwise, the prices that are presented
to prospective guests on some channels may be lower than desired or rooms
presented on some channels as available may, in reality, be unavailable, and the
property may be overbooked. Inputting room rate and availability changes
manually can result in errors that damage the brand’s reputation and lead to
revenue loss. It is important to understand the extent to which room change                                                               Revenue
updates are handled automatically rather than manually and what the average lag                                                           managers
time is in implementing channel updates.                                                                                                  should be
                                                                                                                                          able to define
Customization to user and property needs. Because users have differing needs,                                                             the data
any solution will invariably require some degree of customization. Revenue                                                                inputs and
managers should be able to create notifications based on their own predefined                                                             dashboard
triggers. They should be able to define the data inputs and dashboard views based                                                         views based
on their own priorities and display preferences. Flexibility in configuration is                                                          on their own
needed to mine the right data and generate actionable insights. Prospective buyers                                                        priorities and
should have a high level of confidence that any solution under consideration has                                                          display
flexibility and customization capabilities to meet the needs of the property as well                                                      preferences.
as those of the revenue manager(s) and other end-users.                                                                                   Flexibility in
                                                                                                                                          configuration
Group sales optimization. Buyers with group business goals should check that
                                                                                                                                          is essential.
any solution under consideration provides group sales optimization. This means
being able to evaluate group requests by forecasting the impact and displacement
of transient guests while calculating ideal group rates. Some solutions offer pricing
recommendations by room type to maximize inventory and can provide meeting
planners with a blended price quotation. Some solutions suggest alternate dates
for flexible groups based on projected demand and availability to drive business to
dates where the hotel stands to gain the most profit. Some solutions offer
simultaneous evaluation of multiple properties to identify which one would be the
most profitable for the entire enterprise. Having profit-based price evaluation
capabilities enables sales teams to understand unsold and undersold meetings and
events space as well as less-than-optimal displacement of group business.


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Expected return on investment. Making the business case for upgrading revenue management
capabilities means projecting the likely return on investment (ROI). Unlike many other technology-
enabled business initiatives, the results of a revenue management initiative can generally be
measured by way of an ROI calculation. Assessing the value of a revenue management solution
from a cost standpoint means determining the extent to which the technology is achieving optimal
financial results. Comparing historical performance to current performance is one approach. But
due to changing business practices, market conditions and various other factors, this approach
may fail to provide an apples-to-apples comparison. Revenue opportunity uplift goes beyond a
simple ROI calculation or historical performance analysis. A careful measurement of RevPAR
performance during a given time period compared against the same time period in the year prior
to technology implementation may allow hotel operators to track incremental improvement driven
solely by the new solution. In this way, hotel operators can gain an accurate read on time to value
and determine the lift in revenue and profitability the new technology is currently delivering.



Research Data Point
“How would you rate your company’s success in terms of utilizing revenue
management to improve financial performance?”

                                                                             Somewhat successful The impact of
                                                                                                     Midsize and Limited
     Very successful                      Successful
                                                                                                       Service Hotels
                                                                                                                  the •cloud        has
                                                                                                                         Have utilized revenue
                                                                                                                  been management for 9.5
                                                                                                                       years, on average
          27%                                    26%                                      14%                     enormous,
                                                                                                                      •  Have increased RevPAR
                                                                                                                       by 8% on average
                                                                                                                  empowering
                                                                                                                      • 32% have one or more

                                                                                                                  physicians,
                                                                                                                       revenue managers

                                                                                                                  office Large and Full-
                                                                                                                            Service Hotels
                                                                                                                  managers          and
                                                                                                                        • Have utilized revenue
           31%                                  32%                                       23%                     others     with
                                                                                                                         management for 12-plus
                                                                                                                         years, on average
                                                                                                                  anytime,
                                                                                                                        • Have increased RevPAR
                                                                                                                         by 10.5% on average
                                                                                                                  anywhere
                                                                                                                        • 83% have one or more
Research findings are derived from the Q4 2017 survey on Hospitality Revenue Management                           access      to all
                                                                                                                         revenue managers

                                                                                                                  patient and
                                                                                                                  operational
                                                                                                                  activities.
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The following is an Evaluation Checklist for conducting an apples-to-apples comparison of key
buying considerations for hospitality revenue management solutions. Additional considerations can
be added. Relative weightings can be assigned on a scale of 1 (“This buying consideration has no
bearing on our purchase decision”) to 10 (“This buying consideration is a very important factor”).


              Buying Consideration                                Weighting              Vendor 1              Vendor 2               Vendor 3
 1. Technology interoperability / data integration
 2. Data processing power
 3. Intelligent pricing / analytic modeling
 4. Channel (OTA) optimization
 5. Customizability to property needs
 6. Cloud hosting (hybrid / native / multi-tenant)
 7. Flexibility in data analysis and reporting
 8. Group sales optimization
 9. Collaboration (supports data sharing
    between sales, marketing & revenue mgmt)
 10. Other features and functionality
    a. Demand forecasting management
    b. Group pricing management
    c. Multiple property management
    e. Meetings & events revenue management

     f. Competitive rate shopping management
     e. Other _____________________________
 11. Support, training and consulting services
 12. Reputation / client base / success stories
 13. Cost (TCO) / Expected ROI
 Overall Rankings                                                       N/A




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Chapter 3



Must-Ask Questions
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In a matter of a decade, revenue management has gone
from being an undertaking with uncertain financial upside
                                                                                                 Research Data Point
potential to a strategic imperative with highly predictable
                                                                                                 Percentages of hoteliers who view each
revenue outcomes. At the same time, the demand for next-                                         of the following success factors as
generation solutions has increased with the proliferation of                                     “important” or “very important.”
online travel agencies (OTAs) with differing pricing and
commission structures, shrinking booking windows, ever-                                                                         Integrating all historic
more intense hotel competition in high-demand destinations                                                                      booking data,
                                                                                                                                reservation data,
and ever-increasing pressure to drive profitable growth.                                                   96%                  transaction data,
According to the research, more than one-quarter (28%) of                                                                       competitive data, and all
                                                                                                                                other relevant data
hoteliers who have not upgraded their revenue management
within the past 3 years plan to do so in the next 12 months.                                                                    Continuously refining
                                                                                                                                the accuracy of the
                                                                                                                                forecasting model for
                                                                                                            93%
By asking the right questions, decision makers can determine                                                                    room rate
                                                                                                                                recommendations
which revenue management solution on the market best fits
their needs and is most likely to deliver the benefits they
                                                                                                                                Customizing the
seek, with minimal risk and expense. The hotel’s revenue                                                                        revenue management
manager(s) — people who know the nuts and bolts of                                                         92%                  solution and processes
                                                                                                                                to fit the specific
inventory management and length of stay control and who                                                                         needs of the hotel
understand, for example, how to calculate group rates and
apply rate fences — should be included in the evaluation
process. Most revenue managers want solutions that provide                                                                      Integrating revenue
                                                                                                                                management activities
visibility. They want to be able to look under the hood and                                                84%                  with sales and
dive into price sensitivity data and observe at a detailed level                                                                marketing activities

what inputs are behind the system outputs that are being
made and how adjustments to the decision model would
                                                                                                                                Hiring the right
change revenue outcomes. They do not want to wait for                                                                           revenue managers
actual booking numbers to come in to understand the                                                        79%                  and creating the right
                                                                                                                                culture within the
impact of their strategies and determine whether they made                                                                      organization
the right decisions. In short, revenue managers need to be
comfortable that the new solution will enable them to do                                        Research findings are derived from the Q4 2017 survey
                                                                                                on Hospitality Revenue Management.
their jobs with maximum effectiveness.



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The following are just a few of the questions that decision makers and influencers
may wish to explore with solution providers to ensure that, once implemented, the
revenue management solution will enable them to achieve their desired business
outcomes.


Will the solution provide the answers we need to our pricing questions? To be
effective, revenue managers require tools that will enable them to answer all of their
                                                                                                                                           To be
day-to-day pricing questions. These questions may be voluminous, and some may
                                                                                                                                           effective,
be difficult to always know in advance. Such questions might include: By how much
should we increase or decrease our rates for a given type of room? How many
                                                                                                                                           revenue
groups, and what size groups, should we accept on a given day? How much should
                                                                                                                                           managers
we charge walk-in guests? What should be the floor and ceiling for our rate range?
                                                                                                                                           require tools
Are the changes in demand and bookings likely to represent a short-term or long-
                                                                                                                                           that will
term pattern – and, if the latter, what actions should we take in response? To what
                                                                                                                                           enable them
extent should we discount negotiated rates? What should our best available rates                                                           to answer all
be for the coming year? What discounts and promotions, and to what target                                                                  of their day-
customer segments, are likely to perform well right now and in the near-future?                                                            to-day pricing
What discounts would likely dilute profits and should we therefore avoid? To what                                                          questions.
extent should we mark up our premium rooms, based on the current and near-term                                                             These may be
demand patterns? What competitors’ price moves would likely affect these demand                                                            voluminous
patterns and how should we respond if those moves become reality? How can we                                                               and hard to
counteract cancellations and no-shows, group wash, extensions and early                                                                    always know
departures to capture optimal profitability? Tip: Compile a comprehensive list of                                                          in advance.
pricing questions and verify that the solution will be able to address these questions in
a straight-forward manner.


To what extent does the solution offer depth and flexibility in data analysis
and reporting? Revenue management is a quantitative puzzle with ever-changing
numbers, patterns and results and a need for continuous refinement. Delving into
the data, testing different if/then scenarios, and collating actual results requires a
high degree of flexibility. Not all data queries can be anticipated. A significant
percentage of pricing questions may, in fact, need to be investigated on an ad hoc
basis. Out-of-the-box functionality may satisfy the needs of novice users or small


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properties with relatively simple needs. But it is likely to be insufficient for more
sophisticated revenue managers and larger properties with multiple room types,
customer segments and ancillary revenue streams. A solution should provide for
flexibility, which is important when it comes to setting pricing, noting special events,
adjusting segmentation schemes, etc. A solution should make it easy to
accommodate virtually any need, including the need to monitor and measure
individual property, portfolio, and departmental performance, the need to create
customizable hierarchies for different geo-markets, channels, room types, time
periods and loyalty programs. Important questions might include: Once problem                                                               A solution
areas are identified, can the solution guide users on how to take appropriate                                                               should
action? Can tactical decisions, including the overall impact, be tested live? Can the                                                       provide for
dashboards provide exception reporting, identifying areas needing the most                                                                  flexibility,
attention? Tip: Verify that the solution is flexible in terms of keys areas of                                                              which is
functionality, including custom reporting, and validate all of the vendors’ claims. If                                                      important
customized reporting is possible, find out what is involved in the process of filtering                                                     when it comes
and sorting data according to a specified set of parameters.                                                                                to setting
                                                                                                                                            pricing,
What is the solution provider’s track record of success? As with any technology                                                             noting special
solution purchase, reputation and customer satisfaction are important factors in the                                                        events,
decision-making process. Nobody wants to purchase and implement a revenue                                                                   adjusting
management solution that falls short of expectations due to known shortcomings in                                                           segmentation
stability, reliability or promised benefits. No input may be more important to the                                                          schemes, etc.
buying decision than that which can be gleaned from existing clients, preferably
lodging properties that share some commonalities in terms of size, typography and
existing technology infrastructure. A solution provider or consultant may be willing
to provide one or more client references. And some clients, particularly those
operating in noncompetitive markets, may be willing to share their experiences and
perhaps even disclose results in terms of percentage increases in RevPAR. Client
testimonials and success stories can also be valuable sources of information. Tip:
Find out what performance issues may arise by talking to existing clients, preferable
ones that are similar in size and existing technology infrastructure. Ask about the
product roadmap to understand the plan for future features and functionality and ask
about the provider's track record of delivering against that roadmap and deadlines.


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How long will it take for problems to be resolved? Decision makers should have
clear expectations around customer support and problem resolution as well as the
training that may be needed to get front desk employees and other staff up to
speed on the new system. Almost three-quarters (73%) of hotel operators agree
that user training ranks as a key success factor in ensuring that a revenue
management solution is utilized as effectively as possible. Does the solution
provider (or a certified subcontractor) offer adequate training? Do the team
members in charge of support and training have revenue management experience                                                              Almost three-
of their own from previous jobs at hospitality companies? Does the provider offer                                                         quarters
online troubleshooting and diagnosis should technical issues arise? Is local in-                                                          (73%) of hotel
person service and support a possibility? Tip: Make sure that problems will get                                                           operators
resolved in a timely manner. Some solution providers will go so far as to guarantee                                                       agree that
response and case resolution times.                                                                                                       user training
                                                                                                                                          ranks as a key
                                                                                                                                          success factor
                                                                                                                                          in ensuring
                                                                                                                                          that a revenue
                                                                                                                                          management
                                                                                                                                          solution is
                                                                                                                                          utilized as
                                                                                                                                          effectively as
                                                                                                                                          possible.




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Chapter 4



Roadmap and
Recommendations
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Revenue management solutions have evolved by leaps and bounds in recent years. The best of these
solutions can achieve some truly amazing feats — like calculate price sensitivity of guest demand, taking
into account such factors as season, lead time and room type. That is not something that can be done
using Excel spreadsheets. Needless to say, hotel operators who rely on Excel for their revenue
management needs are obviously at a distinct disadvantage. Perhaps less obvious is the fact that
revenue management capabilities have advanced at such a rapid pace in recent years that hotel
operators who rely on software solutions that were thought to perform at a high level only a few years
ago may also be at a distinct disadvantage, as well.


This roadmap diagram illustrates the migration path for revenue management solutions as they evolve
in scope, sophistication, accuracy — and, ultimately, in delivering positive business results.


                       Legacy Systems                                                     Next-generation Systems

                                                                                        Proven ROI and predictable
                 Uncertain ROI and financial
                                                                                         (and substantial) revenue
                      upside potential
                                                                                                outcomes
                                                                                            Dynamic and flexible
               Best-available-rate pricing only                                           approaches to pricing to
                                                                                              optimize profits

               Increased room occupancy as                                             Increased net revenue as the
                      the primary goal                                                         primary goal

                Manual calculation, or only                                             Complete automation of
               partial automation, of pricing                                        pricing, inventory and all other
              and inventory recommendations                                                 recommendations
              Revenue management separate                                                Revenue management
                 from marketing & sales                                              integrated with marketing and
                       activities                                                            sales activities
                                                                                           Automated channel
              Manual distribution of rates to
                                                                                         management and channel
              OTAs and other online channels
                                                                                              optimization

              Revenue management applied                                            Revenue management applied
                  to guest rooms only                                               to all property revenue streams




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Upgrading revenue management capabilities means not only implementing the right
technology solution and integrating the right data sources — ones that have been
shown to improve forecast accuracy and pricing decisions — but also putting the
right organizational resources in place and creating a revenue-focused culture.
Following are a few recommendations for buyers to keep in mind.


Focus on data integration. The revenue management solution needs to seamlessly
integrate with the property management system (PMS), which, in turn, needs to                                                             Be wary of
integrate with the central reservations system (CRS) or channel manager. For revenue                                                      incorporating
strategy to be most impactful, the PMS also needs to incorporate valuable data                                                            every last
streams from all point of sale (POS) systems in order to capture ancillary spending on                                                    piece of data
food and beverage purchases, as well as function-specific solutions (spa, golf, etc.).                                                    into the deci-
                                                                                                                                          sion model.
Focus on data quality. Choose data sources that will help with accurate decision-                                                         Revenue
making and steer clear of all the rest. Be wary of incorporating every last piece of                                                      forecasting
data that may be available from every possible data source into the decision model.                                                       accuracy
Revenue forecasting accuracy tends to be a case of “quality over quantity” rather                                                         tends to be a
than “the more, the merrier.” While poor technology integration can result in some                                                        case of
data discrepancies, most data accuracy issues stem from human error. Put consistent                                                       “quality over
processes in place that staff can follow to help improve data accuracy.                                                                   quantity”
                                                                                                                                          rather than
Hire the right revenue manager(s). The role of the revenue manager has never                                                              “the more, the
been more important. In fact, some industry observers contend that revenue                                                                merrier.”
managers should be the highest paid employees in the hotel, given their potential
contribution level to top-line revenue growth. Of course, in smaller hotels with
limited budgets, the revenue manager and general manager are oftentimes one and
the same person. Unfortunately, general managers may have little or no training in
the science of demand forecasting and price optimization, invariably leading to
suboptimal results. Ideally, the individual running the show should have the
specialized skills and knowledge needed to ensure the solution produces maximum
benefit. In addition to employing large teams of seasoned revenue managers, some
major hotels are now carving out positions for data scientists to evaluate all of the
data that is collected and to refine the pricing models based on that data.



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Think in terms of “total revenue management.” While guest room revenue is the
bread and butter of most hotels, ancillary revenue steams can contribute significantly
to overall revenue and profitability. Look to see if there may be a golden opportunity
to apply revenue management tactics in these and other non-room categories to
achieve optimal financial results. Hotels that fail to embrace next-generation solutions
that enable “total revenue management” will fall behind their competitors. The best
of revenue management solutions allow hotels to consider the contribution margins
                                                                                                                                           Some
and capacity constraints of not just guest rooms, but also restaurants, bars and cafes,
                                                                                                                                           advanced
spas, golf courses, ski lifts, and any other assets of the property. Some advanced
                                                                                                                                           revenue
revenue management solutions include capabilities specifically focused on optimizing
meetings and events revenue and driving profitability. These capabilities allow
                                                                                                                                           management
hoteliers to optimize profits across multiple revenue streams, from guest rooms and
                                                                                                                                           solutions
meeting spaces to food and beverage, catering, A/V equipment rental, ancillaries and
                                                                                                                                           include
more. Thinking in terms of total revenue management, taking into account the
                                                                                                                                           capabilities
ancillary spending that takes place in hotel restaurants, bars, conference centers,
                                                                                                                                           that are
banquet space, golf courses, etc. and not just revenue management as it pertains to                                                        specifically
guest rooms, can mean leaving a lot less money on the table and significantly                                                              focused on
boosting revenue and profitability.                                                                                                        optimizing
                                                                                                                                           meetings and
Partner with the sales and marketing departments. The pricing recommendations                                                              events
and market insights generated by revenue managers can be valuable across multiple                                                          revenue and
parts of the organization. Access to the tools and dashboards should be made                                                               driving
available to marketers, in particular, who are charged with demand generation                                                              profitability.
activities. Insights, such as those that forecast periods of high demand versus low
demand and that reveal which customer segments are planning to book rooms for a
certain period, should inform every campaign. The insights should inform how
aggressive to be with marketing offers and promotions, toward which customer
segments the offers and promotions should be directed, and when, exactly, to present
the offers and promotions, and which marketing tactics are most likely to elicit the
desired responses. To achieve optimal results, it’s imperative that revenue managers
work hand-in-hand with the sales and marketing functions and integrate all of their
customer acquisition strategies.




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Ensure automation of room availability and rate change distribution. Hotels need
to customize the direct booking engine within the CRS, or channel manager with
revenue decisions and to automate channel-specific offers via the call center and
other channels. The CRS should integrate with OTAs specific to the market in which
the hotel operates. Built-in mapping capabilities should make it possible to organize
OTAs, which today serve as both booking engines and online shopping channels.
Channel management integration ensures that room rates and inventory availability
                                                                                                                                           A revenue
update quickly and accurately across all booking channels. Otherwise, prices
presented on some channels may be lower than desired. Similarly, rooms presented as
                                                                                                                                           management
available may, in reality, be unavailable, in which case the property risks becoming
                                                                                                                                           strategy is a
overbooked. Manually inputting room and rate changes can result in errors that,
                                                                                                                                           blueprint for
ultimately, can damage the brand’s reputation and result in revenue loss.
                                                                                                                                           improving
                                                                                                                                           financial
Build a revenue management strategy and culture. A revenue management                                                                      performance
strategy is a blueprint for improving financial performance over a specific period of                                                      over a specific
time. It should incorporate all of the revenue streams from across all parts of the hotel                                                  period of time
as well as all of the revenue drivers, from the sales department to the online                                                             and be built
distribution channels. The strategy should be built upon a solid foundation of revenue                                                     on a solid
goals using targeted RevPAR, GOPPAR and other relevant metrics for tracking                                                                foundation of
progress. It should include a timeline with key milestones and spell out the tactics for                                                   revenue goals
achieving success. The strategy should be as specific as possible, detailing, for                                                          that use
example, how the property approaches pricing. Done right, the strategy will help                                                           relevant
create cognitive alignment amongst all employees regarding the value of revenue                                                            metrics.
management.




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Chapter 5



Inside Voices and
Outside Voices
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Hotel revenue managers and other industry practitioners with first-hand experience with
hospitality revenue management tend to have a lot to say about the topic. Following are a few
perspectives gleaned from individuals who participated in the survey that produced the research
findings included in this Smart Decision Guide.


        I know a lot of hoteliers are still using the same strategies and technologies for
           yielding rates that they used ten or fifteen years ago, which is crazy. These
      strategies and technologies just aren’t effective anymore. To tell you the truth, they
       weren’t all that effective before, either. Nowadays the only way hoteliers can stay
       competitive is to adopt advanced revenue management strategies and solutions,
      especially now that there’s this whole new world of data that can be integrated into
       the pricing model. Hoteliers that haven’t updated their capabilities for managing
         pricing in recent years are probably leaving a lot of money on the table. For us,
               having these capabilities have made all the difference in the world.



        Senior executive, full-service hotel


                                                                     The right revenue management solution is a
        To be truly successful at this                                prerequisite to making optimal pricing and
      game, you have to eliminate the                               distribution decisions. Our hotel has seen a big
         traditional walls that stand                               increase in RevPAR since we deployed our new
           between these different                                  solution in 2016. For the first time, we’ve been
       functions. Everyone across the                                 able to take full advantage of our historical
      organization benefits when they                                PMS data, our competitors’ pricing data, and
      work cooperatively to optimize                                several other sources of data to develop more
        revenue. Using a centralized                                   sophisticated strategy pricing strategies…
       technology that everyone can                                     We’re able to forecast demand far more
            access can help a lot.                                  accurately than we were able to do previously.


      Revenue manager, full-service hotel                                  Revenue manager, mid-size hotel



            A luxury resort like ours has a lot of different revenue levers. It’s really
        important that we’re able to look at all of these levers in a single dashboard.
        Having a holistic view of all the OTAs and all the channels and all of the data
         that feeds into the model is the only way to optimize revenue performance.



                             Marketing manager, full-service hotel



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Following are a few additional perspectives from industry observers, including industry
practitioners as well as consultants, trade publication editors and market researchers, with insights
into next-generation hospitality revenue management strategies and solutions.


             I think the title and buzz word that has our industry locked on "revenue
          management" is entirely the wrong way to look at it. It is not revenue we are
         after, it is profit. Revenue is where we start but it is always profit that we end up
           with. Understanding what happens to the room revenue and resulting profit
        from different segments is the starting point to a much more effective outcome.


                                David Lund, “The Hotel Financial Coach,” Hospitality Net


                                                                      Hotels in many high-demand markets are
       We have been budgeting and
                                                                     hitting a ceiling in room rates…. To continue
      forecasting by segment, day by
                                                                      to generate growth, it is critical for owners
        day, for years. Our granular
                                                                    and investors to look at two areas. The first is
              process allows for
                                                                     what area in a room can be monetized. This
     day/demand/event shift analysis
                                                                     does not mean nickel and diming for things
      from year to year as our system
                                                                     that guests expect. It means understanding
       remembers all prior and one-
                                                                      what guests value and how much they are
         time impacts…. In order to
                                                                        willing to pay for it. The second area is
     compensate for fluctuations and
                                                                    revenue beyond room revenue. Meeting and
     capture opportunity, we monitor
                                                                    event spaces are an area that most hotels are
         three business bands at all
                                                                    seeing as underperforming. In fact, for many
           time—a tier above our
                                                                       hotels, the profit potential of this revenue
       determined peer set, our peer
                                                                    stream is so significant that it can contribute
             set and a tier below.
                                                                    40 percent to 60 percent of their total profits.


   Chris Green, principal and COO, Chesapeake                                   Esther Hertzfeld, Contributing Editor,
   Hospitality, as quoted in Hotel News Now                                     Hotel Management



                TRevPAR [total revenue per available room] is the big illusion of the
               industry. It has been on the table for years and we are far from being
             where we need to be in regards to it. Rooms is 70% of revenue. TRevPAR
              sounds like good talk, but the industry has to work from scratch on it.
                The data is there, although it is not as easy to get as it is for rooms.

                       Marta Varela, Director of Revenue Strategy, Barceló Hotels,
                       speaking at Opportunity 2018 Revenue Management 3:0




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Appendix



Research Notes and
Underwriters
                             Appendix: Research Notes
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In Q4 2017, Starfleet Media conducted an online survey, consisting of both multiple choice and open
text questions, to capture the perspectives of industry practitioners with firsthand experience with
hospitality revenue management. Some of the research findings are highlighted in this publication.
Following is some basic information about the 167 qualified survey respondents who participated.




   Job level / role of
  survey respondents                           46%                              38%                             16%



                                              Staff                         Managers                    Senior executives


   Size / category of
  survey respondents’
     hotel (or other                           19%                              43%                             38%
   lodging property)
       employers
                                 Small hotels (including                     Midsize and              Large and full service
                                   motels and bed &                        limited service             hotels and resorts
                                       breakfasts)                              hotels



 Geographic location
      of survey                                64%                              25%                              11%
    respondents

                                       North America                          Europe                             Other




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Rainmaker is the market leader in profit optimization solutions for the
hospitality and gaming industries. Its software and consulting services
help hotel, resort and casino hotel operators secure their most profitable
guests.

The first company to incorporate “total guest value” into its revenue
optimization model, Rainmaker leverages cutting-edge research and
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Among Rainmaker’s many marquee clients are Caesars Entertainment,
Wynn Las Vegas, Omni Hotels and Resorts, and One & Only Resorts. For
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Atlanta Business Chronicle’s list of the 100 Fastest Growing Companies in
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